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 1                    UNITED STATES DISTRICT COURT

 2                      DISTRICT OF MASSACHUSETTS

 3                                        No. 1:12-cr-10015-WGY

 4

 5

 6   UNITED STATES OF AMERICA

 7

 8   vs.

 9

10   ROSALIND HERMAN

11

12
                                  *********
13

14                        For Jury Trial Before:
                         Judge William G. Young
15

16

17                        United States District Court
                          District of Massachusetts (Boston)
18                        One Courthouse Way
                          Boston, Massachusetts 02210
19                        Tuesday, April 5, 2016

20
                                   ********
21

22                REPORTER: RICHARD H. ROMANOW, RPR
                       Official Court Reporter
23                   United States District Court
           One Courthouse Way, Room 5510, Boston, MA 02210
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25
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                                                                         2




 1                          A P P E A R A N C E S

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                                                                             3




 1                                I N D E X

 2

 3   WITNESS                   DIRECT       CROSS   REDIRECT    RECROSS

 4

 5   THOMAS ZAPPALA      (Continued.)

 6        By Ms. Bloom:                 5

 7        By Mr. O'Hara:                     15

 8

 9   DEPOSITION TESTIMONY OF DEFENDANT (EXCERPTS READ.)                 18

10

11   JANICE GOODRICH

12        By Mr. O'Hara:           23

13        By Ms. Bloom:                     42

14

15   CLOSING ARGUMENT BY MS. BLOOM.................               47

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 2

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 1           P R O C E E D I N G S

 2           (Jury enters, 9:00 a.m.)

 3           THE COURT:      Well, good morning, ladies and

 4    gentlemen.     I really appreciate you all being here on

 5    time, and we're all ready to go.

 6           Mr. Zappala, I remind you that you are still under

 7    oath, sir.

 8           THE WITNESS:      Thank you, sir.

 9           THE COURT:      You understand?

10           THE WITNESS:      I do understand.

11           THE COURT:      Ms. Bloom, continue.

12           MS. BLOOM:      Thank you.

13

14    DIRECT EXAMINATION BY MS. BLOOM:           (Continued.)

15    Q.     Good morning.

16           MS. BLOOM:      Could we bring back up Exhibit 435.

17           (On screen.)

18    Q.     Mr. Zappala, we talked about this briefly

19    yesterday.     What is this?

20    A.     This is a schedule of payments to Melvin and Irene

21    Burt that I prepared.

22    Q.     Okay.    And what was the total of payments during

23    this time period to Melvin and Irene Burt?

24    A.     $58,450.

25    Q.     Now, I see down below there's an 11-8-2012 entry
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 6 of 120

                                                                        6




 1    for $34,000, is that included in the total?

 2    A.     It is not.

 3    Q.     Why not?

 4    A.     This was not one of the bank records but it was a

 5    check that I believe Mr. Burt provided.

 6    Q.     And, um, what was the state of the bank account on

 7    which that check was written?

 8    A.     There was no activity in the account at the time,

 9    um, the balance was 0, and the account was closed

10    actually, and the check wasn't --

11    Q.     And that you have an asterisk down here indicating

12    the bank account was closed?

13    A.     Yes.

14           MS. BLOOM:      And if we could bring up Exhibit 2.02,

15    Page 197.

16           (On screen.)

17    Q.     What is that page?

18    A.     This is the account statement for the month ending

19    November 30th, 2011 for the Knew Finance Experts

20    account, the account that that check was drawn on.

21    Q.     And how much money was in the account?

22    A.     Um, 38 cents at the end of that month.

23    Q.     And was there ever, after that, any more money in

24    that account?

25    A.     There were no more deposits in the account, no.
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 7 of 120

                                                                        7




 1    Q.     And how much money was in the account when the

 2    check was written in November -- to the Burts in

 3    November of 2012?

 4    A.     There was no money in the account.

 5    Q.     Okay.

 6           MS. BLOOM:      Now, taking you back to Exhibit 433.

 7           (On screen.)

 8    Q.     What is this?

 9    A.     This is a schedule of ATM and customer withdrawals

10    that I prepared, um, for the three accounts into which

11    the funds for the hedge fund went, the two accounts of

12    the Knew Finance Experts and the one account of Insight

13    Onsite strategic Management.

14    Q.     And what time period is covered by these cash

15    disbursements?

16    A.     It begins on, um, May 16th, 2008, that was the

17    date of that transfer into the Washington Mutual

18    account, um, of Knew Finance, of the Bigelows, the

19    $100,000 from the Bigelows.

20           MS. BLOOM:      And if we could go to the last page.

21           (On screen.)

22    Q.     When does it end?

23           MS. BLOOM:      That's Page 12.

24           (On screen.)

25    A.     That it ends on March 14th of 2013.
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                                                                        8




 1    Q.     And the grand total of the ATM and cash

 2    withdrawals from those three accounts, what is it?

 3    A.     $157,820.

 4    Q.     Okay.

 5           MS. BLOOM:      I'm now going to ask you to look at

 6    Exhibit NB.

 7           THE COURT:      Say again the letters?

 8           MS. BLOOM:      NB.

 9           THE COURT:      Thank you.

10           (On screen.)

11           MS. BLOOM:      I'm going to actually show you what

12    has been marked for identification on the paper as

13    Exhibits MB and NB together.

14           (On screen.)

15    Q.     What are those?

16    A.     (Looks.)

17    Q.     Sorry, what are those?

18    A.     These are two schedules I prepared.             One is a

19    schedule of checks and withdrawals to the order of Brad

20    Herman by account and date, and the second is, um, a

21    similar chart of checks and withdrawals to the order of

22    Brian Herman by account and date.            And these withdrawals

23    relate to the, um, the three accounts into which the

24    funds on Exhibit 103 were credited.

25           MS. BLOOM:      Okay, I would offer Exhibit MB as
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 9 of 120

                                                                        9




 1    Exhibit 437.

 2           MR. O'HARA:      No objection.

 3           THE COURT:      MB is admitted, Exhibit 437.

 4           (Exhibit 437, marked.)

 5           MS. BLOOM:      And I would also offer Exhibit MC as

 6    Exhibit 438.

 7           MR. O'HARA:      No objection.

 8           THE COURT:      MC is admitted, Exhibit 438.

 9           (Exhibit 438, marked.)

10           MS. BLOOM:      We are looking now at Exhibit 437.

11           (On screen.)

12    Q.     Whose checks and withdrawals is this document?

13    A.     Oh, these are Brad Herman.

14    Q.     And, um, for what time period?

15    A.     Um, again, beginning here, beginning on March 13th

16    of 2009.

17    Q.     And the ending time period on the last page?

18    A.     10-27-2011.

19    Q.     And what was the total of cash withdrawals and

20    payments to Brad Herman during this time period?

21    A.     $41,285.

22    Q.     Okay.

23           MS. BLOOM:      And going to Exhibit 438.

24           (On screen.)

25    Q.     Whose checks and withdrawals is that?
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 10 of 120

                                                                         10




 1    A.      These are checks and withdrawals to the order of

 2    Brian Herman.

 3    Q.      Is this for the same time period?

 4    A.      It is.

 5            MS. BLOOM:     Okay, and going to the last page, Page

 6    4.

 7            (On screen.)

 8    Q.      What's the grand total of checks and withdrawals

 9    to Brian Herman during this time period?

10    A.      $126,249.

11            MS. BLOOM:     Okay, I would like to have you look at

12    what has been marked for identifications as Exhibit MH.

13            (On screen.)

14            MS. BLOOM:     And I'll just bring that up to you.

15            (Brings to witness.)

16    Q.      What is this document?

17    A.      This is a schedule I prepared of certain payments

18    that are made, um, summarizing certain payments from the

19    three accounts that we've been talking about, the two

20    accounts of Knew Finance Experts and the one account of

21    Insight Onsite Strategic Management.

22            MS. BLOOM:     I would offer MH as Exhibit 443.

23            MR. O'HARA:      No objection.

24            THE COURT:     MH is admitted, Exhibit 443.

25            (Exhibit 443, marked.)
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 11 of 120

                                                                         11




 1    Q.      Could you just walk the jury through this chart.

 2    A.      Certainly.     The first item, "Payments to

 3    Attorneys" of $456,000, corresponds to an exhibit we

 4    reviewed yesterday, it was a list of payments to certain

 5    attorneys.

 6    Q.      Okay.    Does that list include the payment for the

 7    preparation of any documents relating to the hedge fund?

 8    A.      Um, it does not.

 9    Q.      Okay.    The next item?

10    A.      The second item was a payment to John and Amelia

11    Collins, that was the $100,000 transfer out of the

12    accounts of the, um, Knew Finance Experts at Washington

13    Mutual Bank, um, we talked of -- I spoke of yesterday

14    how it came from the Burts' funds.

15    Q.      Okay.

16    A.      The third item is the schedule of payments to

17    Melvin and Irene Burt, $58,450, which we just reviewed a

18    few minutes ago.

19    Q.      Okay.

20    A.      The next item, "Customer and ATM Withdrawals,"

21    relates to the schedule we just reviewed, $157,820.                And

22    the last item, "Payments to Brian Herman and Brad

23    Herman," is the total of the two schedules we just

24    looked at, um, Exhibits 437 and 438.             That total is

25    $167,534.
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                                                                         12




 1    Q.      And what is the total of all of those?

 2    A.      $939,804.

 3    Q.      And is that all amounts that were paid out of the

 4    accounts into -- during the time period of the payments

 5    of Exhibit 103?

 6    A.      No.

 7    Q.      I'm sorry, what is it?

 8    A.      Um, these are payments that were made -- these are

 9    all -- the payments listed here are all payments that

10    are made from these three accounts, yes, but it is not

11    all of the payments made from those accounts.

12    Q.      Oh, I'm sorry.      But all of these payments were

13    made during the time period that the funds came in that

14    are listed in Exhibit 103?          That's what I meant to ask.

15    A.      Yes, that's correct.

16    Q.      Thank you.

17            And were there any other -- does this 939,804

18    number include the charges on the bank statements for

19    things like Chucky Cheeses --

20            MR. O'HARA:      Objection.

21            THE COURT:     No, you're leading the witness and the

22    objection is well taken.          Sustained.

23    Q.      Were there any other charges from these accounts

24    other than what you've listed on this list?

25    A.      There were.
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 13 of 120

                                                                         13




 1    Q.      And could you describe some of them.

 2    A.      Certainly.     They were charges that are reflected

 3    on the account statements, some of which have been

 4    reviewed here, there are debit items, um, ACH items,

 5    automatic payments, and there are also checks that are

 6    drawn on the accounts and paid, which are not the checks

 7    included here, these checks are for a variety of

 8    purposes including, um, mortgage payments, um, utility

 9    payments, including, um, gas and electric bills, pest

10    control services, pool service, um, water services, and

11    a variety of other expenses.

12            MS. BLOOM:     Okay.    I'm now going to ask you to

13    look at what has been marked for identification as

14    Exhibit MA?

15            (On screen.)

16            THE COURT:     Ms. Bloom, yesterday you said 5

17    minutes.     I'm not holding you to that, but that did give

18    me an idea.      But go ahead.

19            MS. BLOOM:     I apologize, your Honor, I remembered

20    some things overnight.

21            THE COURT:     Yes.

22            (Laughter.)

23    Q.      I'm showing you what has been marked for

24    identification as Exhibit MA, can you briefly describe

25    this?
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                                                                         14




 1    A.       Yes, this is a graph that I prepared which charts

 2    two things, the total of funds received into the Knew

 3    Finance Experts and Insight Onsite Strategic Management

 4    accounts that are identified on Exhibit 103, um, and

 5    plots that over time and compares that to the total

 6    balances, um, the total of the daily account balances in

 7    those three accounts.

 8             MS. BLOOM:    I'm would offer this as Exhibit 436.

 9             MR. O'HARA:     No objection.

10             THE COURT:    It may be received, Exhibit 436, MA,

11    436 in evidence.

12             (Exhibit 436, marked.)

13    Q.       And can you now, now that this is actually in

14    front of the jury, can you explain the chart to the

15    jury.

16    A.       Certainly.    The red line, um, reflects the

17    deposits into the Knew Finance and Insight Onsite

18    accounts, um, over time.          For example, the first rise

19    reflects the deposit of John and Carla Bigelow, which

20    brings the total to 100,000.           The second rise adds to

21    that, the 200,000 that was transferred in from the

22    Burts.     The third rise reflects the first 100,000 that

23    came in from John and Linda Connell.             And so forth.

24    Q.       Okay.   And what is the total at the end for the

25    red line?
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                                                                         15




 1    A.      It's $1,385,257, that's the total of what's

 2    reflected on Exhibit 103.

 3    Q.      Okay.    And what does the blue line show?

 4    A.      The blue line shows the total balances in the

 5    three accounts that these funds went into over this time

 6    period.

 7            MS. BLOOM:     I'll just bring back up Exhibits 104

 8    and 105.

 9            (On screen.)

10    Q.      Is this a combination of those two exhibits, what

11    the lines show on this exhibit?

12    A.      It is, essentially I added the daily account

13    balance of each of those accounts together for each day

14    and plotted that over time.

15    Q.      And how much of that $1.3 million is left at the

16    end?

17    A.      It was about $12,000.

18            MS. BLOOM:     No further questions.

19            THE COURT:     Mr. O'Hara, any questions?

20            MR. O'HARA:      Thank you, yes.

21

22    CROSS-EXAMINATION BY MR. O'HARA:

23    Q.      Regarding the, um, cash withdrawals and the

24    checks -- excuse me, the ATM and the cash withdrawals, I

25    believe you stated, just a few minutes ago, that that
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                                                                         16




 1    came out to $157,000, right, and change?

 2    A.      The customer and ATM withdrawals was $157,000,

 3    yes.

 4    Q.      Okay.     You don't know how much of that money was

 5    given to Gregg Caplitz, do you?

 6    A.      I don't, no.

 7    Q.      You don't know how much of that money was given to

 8    Mrs. Herman?

 9    A.      I do not.

10    Q.      And regarding the checks and the withdrawals that

11    were made to Brad and Brian Herman, that came out to

12    $167,534, right?

13    A.      It did.

14    Q.      And you don't know what happened to that money

15    either, do you?

16    A.      I don't.

17    Q.      Just that the checks were written to them and the

18    withdrawals were made by them?

19    A.      That's correct.

20    Q.      But as far as what they did with the money once

21    they received it, you have no personal knowledge, do

22    you?

23    A.      I do not.

24    Q.      And regarding what you identified as, um, charges

25    that were made to credit cards --
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 17 of 120

                                                                         17




 1    A.      Yes.

 2    Q.      -- you don't know who was using the cards when

 3    those charges were made, do you?

 4    A.      I don't know.

 5    Q.      And, um, you know what the charges were for, you

 6    just don't know who made them?

 7    A.      That's correct.

 8    Q.      So if there were charges that were made to Borders

 9    Bookstore to buy a book, you don't know whether

10    Mrs. Herman was buying the book or whether Mrs. Herman

11    had given her credit card to Mr. Caplitz, for example,

12    to buy the book?

13    A.      I don't know.

14            (Pause.)

15            MR. O'HARA:      Thank you.     I have nothing further.

16            THE COURT:     Nothing further for this witness?

17            MS. BLOOM:     Nothing further for this witness, but

18    I do have a few administrative items.

19            THE COURT:     Very well.      He may step down.       And why

20    don't you take that blow-up down.

21            MS. BLOOM:     Sure.    Thank you, your Honor.

22            (Witness steps down.)

23            THE COURT:     And they are?

24            MS. BLOOM:     First, I want to note that what was

25    previously read as the second set of stipulations is now
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                                                                         18




 1    marked, just to keep track of it, as Exhibit 444.

 2            THE COURT:     Very well.

 3            MS. BLOOM:     Um, and the second thing is that we

 4    have certain deposition testimony which we have

 5    designation to read into evidence.            It's quite short.

 6            THE COURT:     It may be read.

 7            Now, in a civil case, and we've had reference to

 8    this civil case -- the case is supposed to have nothing

 9    to do with our case, but various testimony has been made

10    about that so you're better able to size things up in

11    our case.     In a civil case you can take depositions.

12            Now, a deposition, the witness comes to the

13    lawyer's office, the lawyers who were representing the

14    people back then, um, are present, both sides, and

15    there's a stenographer, much like our Court Reporter,

16    and the witness is sworn and is asked questions by the

17    lawyers.     And this helps them get ready for the civil

18    case.    Now that testimony, that testimony is evidence.

19            So even though we don't have the person here, or

20    if it's Mr. Caplitz, we did have him here, but he's not

21    on the stand now, what is said in answer to those

22    questions on deposition, that's evidence even though a

23    lawyer is going to read it, and like any other evidence

24    from a witness, you can believe it, you can disbelieve

25    it, you can believe parts of it, and disbelieve other
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 19 of 120

                                                                         19




 1    parts.

 2             Go ahead, Ms. Bloom.

 3             MS. BLOOM:    So the first designations that I will

 4    read are from the testimony of Rosalind Herman on

 5    September 11th, 2009.

 6             THE COURT:    And just so we're clear, in this

 7    unrelated civil case?

 8             MS. BLOOM:    In this unrelated civil case.

 9             THE COURT:    Very well.      You may read it.

10             MS. BLOOM:    "Ms. Herman" -- and this is on Page

11    76, Line 12 or 13.

12             "Ms. Herman, earlier in your testimony you

13    referred to having two e-mail addresses that you've

14    used, what are those e-mail addresses?"              Answer, "There

15    was one, 'Rherman@ibcm,' I think it is '.com.'" "And

16    what's the other one?"         Answer, "It was switched by the

17    company to 'rherman14@cox.net.'"

18             The next entry is at Page 45, Line 17.

19             Question, "Please tell me all of the banks that

20    you presently use?"        Answer, "Me?"      Question, "Yes."

21    Answer, "I don't use any banks."

22             THE COURT:    You know, depositions have a date, so

23    why don't you tell us the date that deposition was

24    taken.

25             MS. BLOOM:    September 11th, 2009.
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                                                                          20




 1             THE COURT:    Thank you.      Go ahead.

 2             MS. BLOOM:    Page 170 -- Page 170, Line 17, the

 3    same date, September 2009.

 4             "I'm asking whether in 2003 you had access to

 5    e-mails sent to 'insightonsite@attbi.com'?"               Answer,

 6    "Sure I did."

 7             Now turning to a separate sworn statement of

 8    Rosalind Herman.

 9             THE COURT:    Now this isn't a deposition, it's an

10    affidavit?

11             MS. BLOOM:    No, this is a deposition, a separate

12    deposition given on January 5th, 2007.

13             THE COURT:    A deposition.       Go ahead.

14             MS. BLOOM:    "Do you have any college degrees?"             "I

15    went to Umass in Boston.          I went to Suburban Business

16    School in Waltham.        I went to Northeastern University in

17    Boston.     I've taken a lot of courses.           I went to

18    Lafayette Academy."        Question, "What degrees do you

19    hold?"     Answer, "I hold a business degree."            Question,

20    "Is that from Umass, Boston?"           Answer, "Actually I think

21    it is, I had to do summer courses at Suburban Business

22    School.     I don't know."      Question, "When did you obtain

23    -- I'm sorry, when did you obtain your degree?"                Answer,

24    "'78."

25             The government rests, your Honor.
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                                                                         21




 1            THE COURT:     The government rests.         Come to the

 2    sidebar.

 3

 4            AT THE SIDEBAR

 5            THE COURT:     Do you move for a directed verdict?

 6            MR. O'HARA:      Yes.

 7            THE COURT:     All right.      I accept the motion, the

 8    oral motion for a directed verdict as to all counts.

 9    The motion is denied.

10            MR. O'HARA:      If I -- I don't mean to interrupt,

11    but do you want me to argue that?

12            THE COURT:     Well, I'm not disposed to argument at

13    this time.

14            MR. O'HARA:      Oh, okay.

15            THE COURT:     But for the formality of it, I'm going

16    to deny it, your rights are saved.

17            Are you going to put on an affirmative case?

18            MR. O'HARA:      Yes.

19            THE COURT:     You are.

20            Is she going to testify?

21            MR. O'HARA:      No.

22            THE COURT:     Fine.    Then I've denied it.         What will

23    happen is after you've put in your affirmative case,

24    I'll ask you back here again to renew the motion, which

25    I'm disposed to deny, but that will set you up to argue
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 22 of 120

                                                                            22




 1    after the verdict.

 2            All right.

 3

 4            (In open court.)

 5            (Pause.)

 6            THE COURT:     You may proceed.

 7            MR. O'HARA:      All right.     I'm sorry.     I would ask

 8    that Janice Goodrich take the stand.

 9            THE COURT:     She may be called, Janice Goodrich.

10            (Pause.)

11            THE COURT:     Sometimes we have witnesses waiting in

12    the hall and sometimes they wander off.              If we can't

13    find them, I'll tell you stories about the courtroom.

14    They have nothing to do with the case.              Oh, here we are.

15            (Witness enters.)

16            (JANICE GOODRICH, sworn.)

17            THE CLERK:     Can you please state your name and

18    spell your last name for the record.

19            THE WITNESS:      Janice Goodrich, G-O-O-D-R-I-C-H.

20            THE COURT:     Ms. Goodrich, get comfortable in that

21    chair and move that microphone so it's closer to --

22    that's it, move it just so it's closer to you.                There

23    you are.     It didn't seem to be picking you up.

24            THE WITNESS:      Sorry.

25            THE COURT:     And go ahead, Mr. O'Hara.
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                                                                         23




 1            MR. O'HARA:      Thank you.

 2

 3            ***************

 4            JANICE GOODRICH

 5            ***************

 6

 7    DIRECT EXAMINATION BY MR. O'HARA:

 8    Q.      Good morning, Ms. Goodrich.

 9    A.      Good morning.

10    Q.      Where do you currently live?

11            THE COURT:     Just the city and town is adequate.

12    A.      Woburn, Massachusetts.

13    Q.      And are you currently employed?

14    A.      Yes.

15    Q.      Where?

16    A.      A gas station.

17    Q.      And what do you do?

18    A.      A cashier.

19    Q.      Excuse me?

20    A.      A cashier.

21    Q.      A cashier.     How long have you worked at that job?

22    A.      Um, for 4 1/2 years.

23    Q.      Where were you born?

24    A.      I believe Arlington, Massachusetts.

25    Q.      And how many children were in your family?
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                                                                         24




 1    A.      Eight.

 2    Q.      And what's your relationship to Rosalind Herman?

 3    A.      I'm her sister.

 4    Q.      Of the eight children, what was your birth order

 5    relationship to Mrs. Herman, is she older or younger

 6    than you are?

 7    A.      She's older.

 8    Q.      By how much?

 9    A.      About a year, a year and a half.

10    Q.      Can you describe the nature of your relationship

11    with her as you and she were growing up?

12    A.      We're very close.

13    Q.      Are you still very close?

14    A.      Yes, we are.

15    Q.      Do you communicate with each other?

16    A.      Every day.

17    Q.      And how long have you been communicating with each

18    other every day?

19    A.      All our lives.

20    Q.      And do you also consider her to be your best

21    friend?

22    A.      I do.

23    Q.      Where did you go to school?

24    A.      I started in Arlington school system and then we

25    moved to Lexington.        So Lexington.
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                                                                         25




 1    Q.      Did you graduate from high school?

 2    A.      I did not.

 3    Q.      What about your sister?

 4    A.      She went to, um, I think it was Lafayette Academy.

 5    Q.      Did she graduate from high school?

 6    A.      As far as I know.

 7    Q.      Did she receive a GED or did she get a high school

 8    diploma from the high school she attended?

 9    A.      I believe the high school.

10    Q.      And, um, did your sister ever go to college?

11    A.      Um, other than Northeastern for a paralegal

12    course, not to my knowledge.

13    Q.      Okay.    And as far as her attending the University

14    of Massachusetts, are you aware of whether she ever did

15    that?

16    A.      She did not, not to my knowledge.

17    Q.      Okay.    And, um, do you remember when she went to

18    paralegal school?

19    A.      I don't remember the year.

20    Q.      Do you remember for how long she went to paralegal

21    school?

22    A.      I'm sorry, I just don't remember how long.

23    Q.      Okay.    So at some point in time did you and

24    Mrs. Herman leave the family home?

25    A.      Yes.
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 1    Q.      What time did you leave the family -- how old were

 2    you when you left?

 3    A.      Um, probably 18 or 19.

 4    Q.      And as far as Mrs. Herman?

 5    A.      When she got married.

 6    Q.      And how long ago was that?

 7    A.      Um, approximately around 40 years, 41 years ago.

 8    Q.      I'm sorry.     Who's her husband?

 9    A.      Keith Herman.

10    Q.      And are they still married?

11    A.      Yes, they are.

12    Q.      Are you aware of his medical condition?

13    A.      Yes, I am.

14    Q.      What is it?

15    A.      Well, he's disabled, he has an amputated leg,

16    severe high blood pressure, clogged arteries, and so

17    much more that I can't even think of at this particular

18    moment.

19    Q.      Okay.    When you were growing up, did you notice a

20    hobby or a habit that your sister had with your father?

21    A.      Yeah, they would always talk about stocks and

22    things like that.

23    Q.      And they would read the financial section of the

24    newspaper?

25    A.      Yes, they would.
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                                                                         27




 1    Q.       When did Mrs. Herman begin working?

 2    A.       Um, 18 years old, I think.

 3    Q.       And what kind of work did she do when she was 18?

 4    A.       She did all sorts of work, she was in retail, she

 5    worked at a tobacco shop, but that was much later, um,

 6    Adam's Men's warehouse, um, Dyer's Leather, um, Zaires.

 7    Q.       What kind of work did she do, for example, at

 8    Zaires?

 9    A.       A cashier.

10    Q.       And Zaires was what kind of a store?

11    A.       It was a retail store.

12    Q.       And to your knowledge did she ever stop working?

13    A.       Not to my knowledge, no.

14    Q.       Except to have children?

15    A.       Well, long enough to have them.

16    Q.       Did she work one job or more than one job at

17    times?

18    A.       More than one job at times.

19    Q.       And you stated that she worked in a tobacco shop?

20    A.       Correct.

21    Q.       Can you describe the tobacco shop?

22    A.       Um, it was just very small.         It was in the mall.

23    Q.       It was in the mall?

24    A.       Uh-huh.

25    Q.       Okay.     And at some point in time did you meet a
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 1    person by the name of Gregg Caplitz?

 2    A.      Yes.

 3    Q.      How did you meet him?

 4    A.      Um, I think he was in the tobacco shop one day

 5    when I was there.

 6    Q.      Excuse me?

 7    A.      I think he was at Adams one day when I was there,

 8    he was there.

 9    Q.      Okay.    Did you at some point in time begin working

10    at an office that he maintained?

11    A.      Yes.

12    Q.      Where was that office?

13    A.      In Woburn.

14    Q.      And what did you do when you began working there?

15    A.      I answered the phones and I filed.

16    Q.      Did you do any typing for him?

17    A.      No, I did not.

18    Q.      Why not?

19    A.      Because I don't type.

20    Q.      Okay.    So can you provide us with a time frame, if

21    you can, of when you began doing that work there?

22    A.      It was sometime in the '90s, I believe.

23    Q.      And did you continue working there from the '90s

24    right on through today or was there a period of time

25    when you stopped?
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 1    A.       No I left for a while.

 2    Q.       Do you recall when you left?

 3    A.       I had my son in '92, so I would say around '93 or

 4    '94.

 5    Q.       Did you, at some point in time after '93 or '94,

 6    go back and work with him again?

 7    A.       Yeah.

 8    Q.       Approximately when was that?

 9    A.       It was in early 2000.

10    Q.       And what kind of work did you do with him in early

11    2000?

12    A.       The same thing, filing, um, answering phones.

13    Q.       And how long did you continue working in an office

14    that he maintained?

15    A.       Um, till 2013.

16    Q.       And that was the same kind of work that you had

17    done in the past, right?

18    A.       Correct.

19    Q.       Did you have set hours when you were working

20    there?

21    A.       No.

22    Q.       What was the nature and relationship of the hours

23    that you worked?

24    A.       Well, if they needed someone to come in and answer

25    the phone, if someone wasn't going to be there, I would
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 1    come in and answer the phone.

 2    Q.       And when you say "they," who are you referring to?

 3    A.       Rosalind or Gregg, Rosalind would call me or Gregg

 4    would call me.

 5    Q.       And at some point in time did your sister leave

 6    Massachusetts?

 7    A.       Yes, she did.

 8    Q.       That was when?

 9    A.       It had to be around 2000.

10    Q.       And did you continue working at the office?

11    A.       Yes.

12    Q.       And who did you work with in the office?

13    A.       Gregg.

14    Q.       Was he in the office every day?

15    A.       Not all the time, no.

16    Q.       What did you see him doing when he was in the

17    office?

18    A.       Well, he'd, you know, answer the phone, make

19    calls.

20    Q.       Okay.    Did you ever see him interacting with

21    clients in the office?

22    A.       Yes.

23    Q.       How often?

24    A.       Not often.

25    Q.       Who were some of the people you remembered he
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 1    interacted with in the office?

 2    A.      Um, Carl Leuci, um, James Connell, Linda Connell.

 3    Q.      And when he wasn't in the office, did you know

 4    where he was?

 5    A.      Not all the time, no.

 6    Q.      You said you did some filing.           How was the filing

 7    done?

 8    A.      It was in filing cabinets, you'd file it according

 9    to alphabetical order.

10    Q.      What were you filing?

11    A.      I would file client files, I would file bills, I

12    would file all sorts of things.

13    Q.      Did you ever receive checks or check ledgers for

14    bank accounts that were run by businesses?

15    A.      Say it one more time?

16    Q.      Did you ever receive copies of bank statements or

17    cancelled checks that were mailed in?

18    A.      Yes, absolutely.

19    Q.      Where were those statements and cancelled checks

20    mailed from?

21    A.      Well, Rosalind would mail boxes of them from

22    Nevada and then the regular bank statements that would

23    come in through the mail.

24    Q.      And when you say the "regular bank statements"

25    you're talking about bank statements on banking
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 1    institutions in Massachusetts, right?

 2    A.      Right.

 3    Q.      What would you do with all of those bank

 4    statements and those cancelled checks?

 5    A.      I would box them up, put them in the boxes that it

 6    already had come in.        I'd put a --

 7    Q.      I'm sorry, I didn't mean to interrupt.             What would

 8    happen then after you had boxed everything up?

 9    A.      It would be left there and put aside for Gregg to

10    take.

11    Q.      And what would Gregg do with them?

12    A.      He would take them to Dan Goodness.

13    Q.      And who was Dan Goodness?

14    A.      The accountant.

15    Q.      And, um, had you ever met Dan Goodness?

16    A.      Um, I think once or twice before that in the

17    Woburn office, that's where I first met him.

18    Q.      Okay.    And what was the atmosphere in the office

19    while you were working there with Mr. Caplitz when he

20    was present?

21    A.      Um, Gregg was a volatile guy.

22    Q.      How, um, would you describe him when you say

23    "volatile"?

24    A.      Snap, crackle, pop.

25    Q.      And what do you mean by "snap, crackle, pop"?
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 1    A.      Exactly what I said, that is how he is, that's his

 2    mentality.

 3    Q.      Well, could you be a little bit more specific?

 4    A.      He would talk on the phone, he would crack the

 5    phone down -- I can't tell you how many receivers, I had

 6    to go to Staples, but then it was Comp USA, to buy

 7    because he broke the receivers by slamming the phone

 8    down.

 9    Q.      And how did he interact verbally with people on

10    the phone and with you?

11    A.      He would yell a lot.

12    Q.      Okay.    And did he have a favorite expression that

13    he used that you heard over and over again?

14    A.      "I'll take care of it," "It's done," that's

15    basically his repertoire.

16    Q.      And what were the context -- what was happening

17    when he would make statements to that effect?

18    A.      Well, all different things.          I mean when things

19    weren't done that he said he was going to do or just

20    things in general, that was Gregg's answer to

21    everything.

22    Q.      And what tone of voice would he use when he would

23    make that statement?

24    A.      Oh, he'd be screaming.

25    Q.      And did you hear him interacting with people on
     Case 1:12-cr-10015-WGY Document 312 Filed 09/16/16 Page 34 of 120

                                                                         34




 1    the telephone?

 2    A.      Yes.

 3    Q.      At times did he use a speaker phone?

 4    A.      Yes, he did.

 5    Q.      And could you hear the people he was interacting

 6    with on the phone?

 7    A.      Yes.

 8    Q.      And who were they, if you know?

 9    A.      Well, Rosalind, a few times clients.

10    Q.      And what would happen during those telephone

11    conversations?

12    A.      He'd be screaming.

13    Q.      Now, going to July of 2012.

14            Were you present in the office during a

15    conversation where Mr. Caplitz was on the cell phone

16    speaking with your sister in Nevada?

17    A.      Yes.

18    Q.      And what were they talking about?

19    A.      They were talking about, um -- he had wanted her

20    to write a check for Mr. Leuci for $3,000 and she said,

21    "Why would I do that?"         And he said, "Because he didn't

22    get a distribution check," or "It was lost" or

23    something, I'm not really sure, but he wanted her to

24    write this check.        And she asked, um, Gregg if he'd

25    followed up to see if Lightspeed, um, what happened and
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 1    he said, "I talked to them and they're not sure, they

 2    have to track it," and on and on he went.              And he said,

 3    "Just write the check," and he was screaming at her.

 4    And she said, "Well, if I write the check, I'm going to

 5    put 'gift' on it."        And he said, "It's not a gift," and

 6    he went into this whole big rage about it.

 7    Q.      Now, did you have any understanding of the details

 8    of the business that Mr. Caplitz and your sister were

 9    conducting?

10    A.      The details as to?

11    Q.      Did you know what they were doing specifically in

12    terms of the business that they were operating?

13    A.      Well, I don't understand investments, I'll tell

14    you that right now.

15    Q.      So your answer is you didn't understand exactly

16    what they were doing?

17    A.      No, I don't understand investments, I don't

18    understand those things.

19    Q.      So you answered the phone and you gathered the

20    checks and you filed things?

21    A.      Correct.

22    Q.      Did Mr. Caplitz make a statement regarding why he

23    wanted money sent to Mr. Leuci, was there any particular

24    reason why he wanted that money sent to him?

25    A.      Well, Mr. Leuci was going on vacation and he
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 1    needed the money for entertainment, I guess.               That was

 2    what was said.

 3    Q.      That's what you overheard?

 4    A.      Correct.

 5    Q.      Now, um, after your sister moved to Arizona --

 6    excuse me, Nevada, did she come back on an annual basis

 7    every year?

 8    A.      Yes.

 9    Q.      When she first went to Arizona -- Nevada in 2000,

10    did her husband go with her?

11    A.      No, he stayed -- he stayed, I think, for a little

12    while and then met her.

13    Q.      In Massachusetts?

14    A.      Yeah.

15    Q.      And where were they living when they were living

16    in Massachusetts?

17    A.      At Davis Street, Woburn.

18    Q.      In Woburn.     And that's the house you're living at

19    now, right?

20    A.      Correct.

21    Q.      When your sister was in Nevada and your brother-

22    in-law, Keith, was in Massachusetts, approximately how

23    often did she come back?

24    A.      Well, she came a few days after he did.

25    Q.      Excuse me?
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                                                                         37




 1    A.      She came back -- when he was living there --

 2    Q.      Yes.

 3    A.      -- she came back a few days and then -- well, a

 4    couple of weeks, and then they went back together.

 5    Q.      So he went back to Nevada with her?

 6    A.      Uh-huh.

 7    Q.      And while she was living in Nevada with him, how

 8    frequently would she come back to Massachusetts?

 9    A.      Not a lot, not -- unless they came together.

10    Q.      Okay.     But when you say "not a lot," would it be

11    like once a year?

12    A.      No, I'd say a couple times a year.

13    Q.      And when, um, she was out in Nevada, were there

14    times -- well, did you have any responsibilities, um, on

15    behalf of Mr. Caplitz regarding his pets?

16    A.      Yes, I took care of his pets.

17    Q.      And what pets did he have?

18    A.      A dog.

19    Q.      He had a dog?

20    A.      A dog, yeah.

21    Q.      Okay.     Were there times when Mr. Caplitz would be

22    out of state or for long periods of time?

23    A.      Yes.

24    Q.      Where would he go?

25    A.      Nevada.
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                                                                         38




 1    Q.      And how often would he go to Nevada?

 2    A.      Well, he'd go for two weeks and then he wouldn't

 3    come back for another two weeks.

 4    Q.      So he would go out to Nevada for a month at a

 5    time?

 6    A.      Sure.

 7    Q.      And how often did he do that on an annual basis?

 8    A.      I'd say three or four times.

 9    Q.      So he would go three or four times a year for

10    maybe a month at a time?

11    A.      Correct.

12    Q.      And while he was in Nevada, what were you doing

13    regarding his pet?

14    A.      I was taking care of him.

15    Q.      And you were in the office then by yourself?

16    A.      Yes.

17    Q.      And how was the atmosphere in the office when he

18    wasn't there?

19    A.      Peaceful.

20    Q.      And did these prolonged absences from the office

21    continue from 2000 and go right up until 2013?

22    A.      Yes.

23    Q.      At some point in time, um, your brother-in-law

24    became ill, didn't he?

25    A.      Yes.
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                                                                         39




 1    Q.      What happened to trigger his illness?

 2    A.      Um, so many things.        He had congestive heart

 3    failure.

 4    Q.      Well, specifically did he suffer a heart attack?

 5    A.      Yes.

 6    Q.      When was that?

 7    A.      I have to say mid 2000s, roughly.

 8    Q.      And did his physical health get better or get

 9    worse after he suffered the heart attack?

10    A.      Oh, it declined severely.

11    Q.      And that was an area of concern for you and your

12    entire family?

13    A.      Of course.

14    Q.      Did you go to Nevada?

15    A.      Once.

16    Q.      Just once?

17    A.      Uh-huh.    I'm not a flyer.

18    Q.      And were there periods of time when your brother-

19    in-law was hospitalized in Massachusetts?

20    A.      Yes.

21    Q.      And during those periods of time when he was in

22    Massachusetts, did your sister, Rosalind Herman, come

23    back?

24    A.      Absolutely.

25    Q.      How frequently?
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                                                                             40




 1    A.       She never left him when she came here.

 2    Q.       Okay.   But when they were out in Nevada together,

 3    how often would she come back?

 4    A.       She wouldn't.

 5             MR. O'HARA:     Can I have a moment, your Honor?              I'm

 6    sorry.

 7             THE COURT:    Yes.

 8             (Pause.)

 9    Q.       Did you ever see Mr. Caplitz with money, cash

10    money?

11    A.       Yeah.

12    Q.       And what denomination bills did he have?

13    A.       Hundreds.

14    Q.       When did you see him with hundred dollar bills?

15    A.       Um, plenty of times, I mean, over the years.              I

16    can't pick out one particular time.

17    Q.       Well, would he have the hundred dollar bills on

18    his person before he went to Nevada?

19    A.       Yes.

20    Q.       And would he have hundred dollar bills on him when

21    he came back from Nevada?

22    A.       I'd have to say probably.

23    Q.       And what would he do with that money?

24    A.       He'd have it in his pocket, he would do whatever

25    he wanted to do with it.
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                                                                         41




 1    Q.      Well, how would you see it?

 2    A.      Well, because he took it out.

 3    Q.      And showed it to you?

 4    A.      Correct.

 5    Q.      Okay.     Did he say anything when he was showing you

 6    the 100 dollar bills he had?

 7    A.      No.     Well, one time I asked him to get me a pack

 8    of cigarettes, I gave him $20, and he came back and he

 9    was giving me the change out of his pocket and he put

10    the money down on the desk and he was taking it out of

11    his own money, the change.

12    Q.      And you saw what?

13    A.      Hundred dollar bills.

14    Q.      How many?

15    A.      Um, they were folded over, so I couldn't venture

16    to say.

17    Q.      Okay.

18            MR. O'HARA:      I think that's it, your Honor, I just

19    beg your indulgence for a second.

20            THE COURT:     Of course.

21            (Pause.)

22            MR. O'HARA:      No, I have nothing further of this

23    witness.

24            THE COURT:     Any questions for this witness?

25            MS. BLOOM:     Just very quickly.
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 1

 2    CROSS-EXAMINATION BY MS. BLOOM:

 3    Q.      Ms. Goodrich, didn't Mr. Caplitz go to the bank

 4    and get cash and pay you in cash on a regular basis?

 5    A.      Yes, on Fridays.       Yes.

 6    Q.      And --

 7            MS. BLOOM:     No further questions.

 8            THE COURT:     Nothing further for this witness?

 9            MR. O'HARA:      Excuse me.

10            (Pause.)

11            MR. O'HARA:      No, your Honor.

12            THE COURT:     Thank you.      You may step down.

13            (Steps down.)

14            THE COURT:     Is that the defense's case?

15            MR. O'HARA:      Your Honor, we have a stipulation

16    that we'd like to read in the record, if that's okay?

17            THE COURT:     It may be read.       And I've explained

18    what stipulations are.

19            (Pause.)

20            MR. O'HARA:      Your Honor, just a sidebar briefly?

21            THE COURT:     You may.

22

23            AT THE SIDEBAR

24            MR. O'HARA:      I apologize for the confusion.

25            THE COURT:     No confusion.
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                                                                          43




 1            MR. O'HARA:      There is an exhibit that was produced

 2    by the government regarding, um, Mrs. Herman's lack of

 3    attendance at the University of Massachusetts, and while

 4    I was questioning Ms. Goodrich Mr. Benzaken was, I

 5    think, attempting to work out a way that we could

 6    introduce this, and I'm not really sure --

 7            MS. BLOOM:     We're not going to object.

 8            MS. MURRANE:      Yeah, I think it can just be

 9    introduced as evidence and you can say you're offering

10    the exhibit, whatever number is it, and then --

11            THE COURT:     And we'll have the next numbers, which

12    are?

13            MS. BLOOM:     It's been assigned a number already.

14            THE COURT:     All right.      So --

15            MS. BLOOM:     We can give you the letter.

16            THE COURT:     Well, you don't need the letter.            If

17    you simply say, "We offer this document," and they'll be

18    no objection, and it will have the number, whatever.

19            And then you're going to rest?

20            MR. O'HARA:      Yes, your Honor.

21            THE COURT:     Do you renew your motion for a

22    directed verdict?

23            MR. BENZAKEN:      I will, your Honor.

24            THE COURT:     For the record it's denied.           So post

25    verdict you may renew it and argue it.
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 1            Before the jury I will ask you back here, just

 2    when this is done, and you'll say you rest, and we'll

 3    take the recess and set up for final argument.

 4

 5            (In open court.)

 6            THE COURT:     Okay, Mr. Benzaken.

 7            MR. BENZAKEN:      Thank you, your Honor.

 8            Your Honor, pursuant to a stipulation of the

 9    parties, I move to introduce Exhibit Number 289, which

10    is a response to a subpoena by Umass, the University of

11    Massachusetts, and they say that they have no records

12    for Ms. Rosalind Herman attending.

13            THE COURT:     Well, let's slow down a second.             We'll

14    give that document what number again, 289?

15            MR. BENZAKEN:      Yes, your Honor.

16            THE COURT:     All right.      So that will be admitted

17    in evidence, 289.

18            (Exhibit 289, marked.)

19            THE COURT:     And you characterized it.

20            And I take it you have no objection to that

21    characterization?

22            MS. BLOOM:     No objection, your Honor.

23            THE COURT:     And again the characterization is that

24    Umass has no records of Rosalind Herman attending its

25    programs?
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 1            MR. BENZAKEN:      Correct, your Honor.

 2            THE COURT:     So stipulated, Mrs. Bloom?

 3            MS. BLOOM:     Yes, your Honor.

 4            THE COURT:     And with that, the defense rests?

 5            MR. O'HARA:      Yes, your Honor.

 6            THE COURT:     Very well.      All right.     Now at least I

 7    know what the schedule is.

 8            Now you have heard and seen all the evidence

 9    you're going to have in this case.            So as I explained

10    yesterday, what we'll do is we'll take a recess, we'll

11    recess for 15 minutes, and in 15 minutes we'll be back

12    for the most important part of the case, it's not

13    evidence, but it's the most important part of the case,

14    the lawyers will get a chance to argue, to sum up for

15    you and make their arguments as to what conclusions you

16    ought draw from the evidence you've seen and heard.

17    That will take about an hour.           Because the information

18    comes faster when we talk directly to you than question

19    and answer, we'll take another recess, 15 minutes, and

20    then I will instruct you, teach you the law which you

21    must follow in a case such as this.

22            Therefore, while you've heard all the evidence,

23    these two important parts of the case remain, so don't

24    start talking about the case, keep your minds suspended,

25    don't talk about the case among yourselves nor with
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 1    anyone else.

 2             You may stand in recess now for 15 minutes until,

 3    um, 10:15.     The jury may recess.

 4             (Jury leaves 10:00 a.m.)

 5             (Resumed, 10:20 a.m.)

 6             THE COURT:    All right.      Now we come to the most

 7    important part of the case where the lawyers stand

 8    before you and candidly argue to you for the conclusion

 9    on behalf of their client that they are urging you to

10    draw.    Now, this is what we think of when we think of

11    lawyers, standing before an American jury and arguing on

12    behalf of the client.         And I know you're going to give

13    the attorneys the same careful and courteous attention

14    that you've given me and you've given each of the

15    witnesses.

16             I have this caution for you.         None of these

17    attorneys were there when any of the things that

18    supposedly happened in the course of our lawsuit took

19    place.     These attorneys don't know of their own

20    knowledge what went on.         They, through witnesses, have

21    marshaled the evidence, pointed out its strengths,

22    pointed out its weaknesses, and they will argue that, by

23    they themselves don't personally know, so they are not a

24    source of evidence, they'll argue from the evidence.               If

25    your memory of the evidence is different from what an
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 1    attorney argues to you now, your memory governs.

 2            Now, just as the case has been tried to you, you

 3    have in mind Ms. Herman started this trial truly

 4    innocent and this burden of proving things, that rests

 5    on the government and it never shifts, it never moves

 6    from the government.        So consistent with the way the

 7    case has been presented to you, we turn first to the

 8    Assistant United States Attorney to see which one's

 9    going to make a closing argument on behalf of the

10    government.

11            Ms. Bloom?

12            MS. BLOOM:     Thank you, your Honor.

13            Your Honor, can we have the screens on?

14            THE CLERK:     Yes, I will.

15            MS. BLOOM:     Thank you.

16

17    CLOSING ARGUMENT BY MS. BLOOM:

18            Rosalind Herman ran investment advisory companies.

19    Rosalind Herman and her companies were supposed to

20    protect their clients' money, she was supposed to invest

21    for her clients, but for these victims on Exhibit 103,

22    she didn't do that, she spent her clients' money right

23    out of the corporate bank account.            She spent it for

24    herself, she spent it for her lifestyle, she spent it

25    for her Las Vegas house, she spent it for her cars, she
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 1    spent it eating, drinking, smoking, gambling.                She spent

 2    it all.     And she knew -- she knew that she was not

 3    supposed to have taken her clients' money and been using

 4    it all for herself.        And she didn't pay any taxes.

 5    That's what this case is about.

 6            And looking back at the documents --

 7            (Interruption by Court Reporter.)

 8            THE COURT:     Yeah, you have to speak up.           I can't

 9    hear you either, Ms. Bloom.          Speak up.

10            MS. BLOOM:     And the records in this case, the

11    documents prove, beyond any reasonable doubt, that she

12    committed all the crimes charged here, the investment

13    advisor fraud, the wire fraud, the tax evasion, and the

14    conspiracy.

15            Now, at the beginning of this case Mr. O'Hara

16    argued that Gregg Caplitz was a lying thief.               Well, duh?

17    Ms. Murrane came and told you that Gregg Caplitz pled

18    guilty to all these crimes, Gregg Caplitz got on that

19    stand and told you himself he lied, he scammed these

20    clients out of the money, and he knew Ms. Herman was

21    spending it, but the fact that Gregg Caplitz was a lying

22    thief does not in any way make Rosalind Herman innocent.

23    Rosalind Herman was also a lying thief and they did this

24    together.     They were a couple of lying thieves.             And

25    together they scammed all these clients out of all this
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 1    money, $1.3 million.

 2             Now, you don't have to rely on the word of Gregg

 3    Caplitz, no doubt, of course not, think about all the

 4    other evidence you saw.         You saw the bank records,

 5    Exhibits 1.01, 2.02, and 3.03 show where the money was

 6    going.     All you need to do is follow the money through

 7    the bank records to see that it was Rosalind Herman who

 8    spent the $1.3 million that came into these bank

 9    accounts.     The corporate records, the bank records, they

10    show she controlled the accounts.

11             And think about the other witnesses.            Charlene

12    Herman.     Rosalind had Charlene Herman sign checks and

13    Charlene Herman signed checks.           Rosalind Herman wrote

14    out all the checks.        Rosalind Herman controlled who got

15    a car, who got money to go to the grocery store, paid

16    all the expenses for the Las Vegas house, for all seven

17    of them living out there, Rosalind Lynn Herman was in

18    control.     How else do you know that Rosalind Herman was

19    in on this, that she knew that they were taking money?

20             Well, first of all, if the question is how did she

21    know that it was illegal, as an investment advisor, to

22    take all of her clients' hard-earned money, their life

23    savings, which they had entrusted to her business to

24    invest, and spend it all on herself?             The question

25    answers itself, right?         There's no explanation for it.
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 1    But there's more.

 2            You heard that Rosalind Herman met with the

 3    clients, not a lot, some of those clients didn't want to

 4    meet with her very often, they even asked -- as much of

 5    a yeller as Gregg Caplitz was reported to be, she was

 6    worse and some of the clients just wouldn't deal with

 7    her.    But on occasion people wanted to talk to the boss

 8    and when they wanted to talk to the boss or meet with

 9    the boss, they met Rosalind Herman.

10            And remember that initial meeting with the Burts?

11    Do you remember when Mr. Burt described coming in with

12    Mrs. Burt and talking to Gregg Caplitz and Rosalind

13    Herman about how they wanted to protect the money that

14    Mr. Salvucci had saved for his entire life, because he

15    was in a nursing home, he had dementia, and he had to

16    pay to it, and they wanted to find a conservative

17    investment that would preserve that capital and Rosalind

18    and Gregg Caplitz told them the mantra of their company,

19    "First preserve the capital."           But she wasn't preserving

20    capital, was she, she was spending the money.

21            And then how do we know if she knew about the

22    whole hedge fund scheme?          Well, she signs all sorts of

23    documents about the hedge fund, which is not just about

24    documents about the hedge fund, she signs the hedge fund

25    document, Exhibit 176, she's copied on the projections
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 1    that were sent out to the clients, those projections

 2    that say "You're going to get a 700 percent return, your

 3    $100,000 is going to turn to $700,000 in five years."

 4    Gregg Caplitz was sending those back and forth to her to

 5    prepare the projections before they send it out to the

 6    clients, he's talking to her before and after.                Look at

 7    the exhibits to the Ekmans, 154, 155 through 160, look

 8    at 408, 485, all copies of e-mails going to her talking

 9    about this hedge fund.

10            How else do we know that she was in on it?                 Well,

11    think about her conversations with Mr. Leuci.                When

12    they're thinking about putting $100,000 into this hedge

13    fund and Gregg Caplitz is telling him, "This is a great

14    idea," Mr. Leuci says, "I'm going to talk to the boss,

15    this is supposedly Rosalind Herman's hedge fund, I'm

16    going to talk to her."         So he gets on the phone with

17    Rosalind Herman and Rosalind Herman says, "You're going

18    to be very happy with this investment."              She's already

19    stole all of these other clients' money, it's already

20    disappeared by the time she gets on the phone with

21    Mr. Leuci and convinces him to put his 100,000 in.

22            He's not going to be very happy with this

23    investment, he's going to be miserable with this

24    investment because this wasn't an investment.                The

25    clients came to them to make investments to get returns,
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 1    but this wasn't an investment.           Look at the bank

 2    records, there's no investment, it's just being spent,

 3    it's being spent to buy gas, it's being spent for pest

 4    control, for the pool service.

 5            And then what happens when clients start calling

 6    for their money, when they want it now, they want to get

 7    it back?     The Bigelows, they want their money back, they

 8    can't get it.      The Ekmans sent a letter, they want their

 9    money back, they were promised that if the hedge fund

10    wasn't funded, they could have their money back, and

11    Mr. Ekman suffers a stroke and they want their money.

12    These people have saved their entire lives for this

13    money, but they can't get the money back.              She wouldn't

14    even return the call.

15            But Mr. Leuci, he's more persistent, he calls and

16    talks to Greg Caplitz, he gets these stories about where

17    the money is, "It's not coming," "It's going to come,"

18    "It's going to get funded," and he wants to talk to

19    Rosalind Herman.       So he gets Rosalind Herman on the

20    phone too and she tells the same story, "The money is

21    coming, it just takes a little longer," "You're going to

22    be paid."     Meanwhile she's already spent all this money.

23    There's no hedge fund.

24            And then he says -- he starts sending e-mails.

25    Now, you know Rosalind Herman's rule, "Don't put it in
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 1    an e-mail and especially don't put anything about this

 2    hedge fund in an e-mail from her."            So she says, "We

 3    don't want to talk about it in an e-mail."               She doesn't

 4    really want to talk with the clients at all, but when he

 5    insists, she does.

 6            And finally, in the summer of 2012, Mr. Leuci is

 7    getting very upset, rightfully so, he hasn't seen a dime

 8    on his $100,000 investment in a couple of years and he

 9    threatens to go to the Attorney General and he puts it

10    in an e-mail and he sends it to Rosalind Herman and

11    Gregg Caplitz.       Look at Exhibit 424.        And Rosalind

12    Herman says again, "We don't want to be using e-mail,"

13    but she calls him up and she says, "Good news, the hedge

14    fund is funded."

15            And you heard it was Gregg Caplitz, you heard from

16    Rosalind Herman's own sister, it was Gregg Caplitz who

17    insisted on sending some money to Carl Leuci.                Leuci was

18    about to go to the authorities.            She didn't even want to

19    part with $3,000 at that point, but here Mr. Leuci was

20    threatening to go to the Attorney General and they

21    decide to send the check.          But she says, "I'm going to

22    write on it 'gift.'"        That's what Mr. Caplitz told you

23    and that's what Rosalind's own sister told you.                And in

24    fact, of all the things that she didn't remember that

25    had happened at this business, the one memorable moment
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 1    was when Rosalind Herman finally wrote a check back to a

 2    client.     It was a rare moment.

 3            And what about the Burts?          Mr. Burt signed that

 4    promissory note to invest $200,000 into this hedge fund

 5    and at first he got interest payments, those were sent

 6    out of the bank accounts of Rosalind Herman.               She knew

 7    about the note, she was sending the payments.                And the

 8    payments didn't come on time, they were always late, he

 9    always had to call, and he finally got a call from

10    Rosalind Herman and Gregg Caplitz because Rosalind

11    Herman was the one to whom he had left the money, and

12    she said, "Oh, I don't know why you didn't get a check."

13    Well, of course she knew why he didn't get the check,

14    she was the one sending the checks.             And he wrote a

15    letter, it's Exhibit 429, and he confirmed, "I don't

16    know why you think I got the check," but I'm tired of

17    waiting, would you start sending me my checks on time

18    and if not then pay off the note," and he wrote it to

19    Rosalind Herman.       And what did she do?         She paid him a

20    small dividend, and when she did pay she was using

21    Patricia Wentzell's money or James Connell's money to

22    pay the Burts.       There was no investment.         There was no

23    dividend.     There was no business.

24            And then Mr. Burt -- by late 2012, Mr. Burt had

25    been counting on them, but he was not getting any money,
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 1    and he's trying to get at least his interest and he gets

 2    on the phone and he talks to Rosalind Herman and Gregg

 3    Caplitz and they agreed to send him a check to bring him

 4    current because he is threatening to go to the

 5    authorities.      And the one thing she knows is she doesn't

 6    want these people to go to the authorities.               Why?

 7    Because she knows she's pulling a scam, she's stolen all

 8    their money.

 9            So she writes a $34,000 check and she gives it to

10    Gregg Caplitz and at first they just want to show it to

11    Mr. Burt but eventually they give it to Mr. Burt, only

12    the check on which she wrote the $34,000, the account is

13    closed, there hasn't been more than 38 cents in that

14    account for a year.        She has an account, she's writing

15    checks, at that point off the Insight Onsite account,

16    which has a little bit of money, but she's goes and

17    writes a check on a closed account.             She's in on it,

18    she's hiding things, she's deceiving Mr. Burt and

19    Mr. Leuci and everyone else.           And how else do you know

20    that?    Because she is so insistent in not writing

21    e-mail, that they're not being traced to her.                Look at

22    Exhibit 431.      Maybe you can bring that one up.

23            (On screen.)

24            Gregg Caplitz sends her a copy of the supposed

25    hedge fund agreement and he's talking about which
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 1    clients are in and which clients are out, and so is her

 2    response, "Gregg, I don't know what you're talking

 3    about, what hedge fund is this you're talking about?"

 4    or is it, "How are we doing?           When are we getting these

 5    people their returns?"         No.   When he sends this to her,

 6    what is her response?         "Are you nuts to put this in an

 7    e-mail?"     She doesn't want a trail to her.            Why?      For

 8    this very reason, because now you can see this e-mail

 9    and you can see that she knew exactly what was going on.

10            How else do you know that Rosalind Herman knew

11    what was going on?        Well, you saw the documents, you

12    heard the testimony of her own son, her daughter-in-law,

13    that she was in charge, she tracked everything, she

14    wanted to know where every dime was.             A "control freak"

15    doesn't begin to describe the way Rosalind Herman ran

16    this business.       She was not duped into this by Gregg

17    Caplitz, she was not pushed around by anyone, she was

18    very much entitled and in actuality in control and she

19    controlled the spending of all that money.

20            If you go back to Exhibit 104, you see the roller

21    coaster of the money, the Bigelows, $100,000 of their

22    life savings, gone, the Burts, $200,000, almost all

23    gone, the Connells' money was their life savings, it's

24    gone, the money that Patricia Wentzell had saved for her

25    entire life, working 28 years as a telephone operator,
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 1    gone.    So now let's talk about what the charges are, the

 2    charges in the case.        I'm going to go through them.

 3    Just one more here.

 4            (On screen.)

 5            These are the charges, there are seven counts that

 6    you'll have to render a verdict on, and I'm going to

 7    begin at the bottom.

 8            Count 9, obstructing or impeding the functions of

 9    the IRS.     What this count is is basically doing

10    something, with the intent to do something wrong, to

11    impede the IRS in either collecting taxes or in

12    assessing taxes, and it can be any one thing from 2003

13    through 2012.      And you have so many to choose from.

14            So, for example, Rosalind Herman got in all this

15    money and whether you call it "theft" or you call it a

16    "gain," she didn't report them on her taxes and she

17    didn't pay any taxes, she spent it all.              She certainly

18    wasn't going to share any of that with the IRS.                What

19    else did she do?

20            Well, you heard that over the total time period

21    they got in about $4.8 million of receipts and she paid

22    about $24,000 in taxes, less than a half a percent.                   And

23    you heard how sometimes she just didn't pay -- she

24    didn't file any tax returns.           Now, we all hate filing

25    tax returns, right, we all hate paying taxes, but
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 1    Rosalind Herman took this to a different level, she took

 2    it to the criminal level, she intentionally didn't file

 3    and made up expenses.

 4            Do you remember Mr. Zappala telling you how it was

 5    mathematically -- showing you how it was mathematically

 6    impossible for her to have the expenses she claimed in

 7    her 2003 tax return?        She falsely reported how much cash

 8    she had and she falsely signed the return.               There was no

 9    electronic return.        She made up expenses.        She charged

10    every personal expense possible to the corporate

11    accounts, paid them through the corporate credit cards,

12    entered them as business expenses.            Even her son's

13    honeymoon went through the corporate accounts, she

14    charged it.      She didn't file the returns, she didn't

15    withhold wages, she didn't withhold deductions for

16    employees, she didn't report them as employees with

17    W-2s, she didn't file 1099s.           Any one thing to impede or

18    impair the function of the IRS.

19            Okay.    Counts 4 through 7 and Count 2 both have

20    fraud in them.       What's a "fraud"?       A scheme to deceive,

21    a scam, done intentionally, not by accident, not by

22    mistake, willfully, and knowing.            Well, that's what this

23    is, that's what we've been talking about, taking her

24    clients' money out of the corporate account and spending

25    it on herself and lying about it and hiding it.
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 1            Now, you -- I believe you'll hear from Judge Young

 2    that actually she can be guilty of fraud if she was

 3    merely willfully blind, if she simply did this

 4    (Indicates.) when Gregg Caplitz did all the bad deeds,

 5    but here the evidence shows that she knew, she

 6    controlled the bank accounts, she told lies, she said

 7    "Don't put it in an e-mail," so this wasn't merely this

 8    (Indicates.) this was this, "Keep the money coming

 9    because I've said we need more."

10            Now, what else do you need for wire fraud?                 Well,

11    you need a wire in interstate commerce, but fortunate

12    for you we have a stipulation.           If you look at Exhibit

13    100, Paragraphs 2 and 3, you will see that there is an

14    agreement between the parties, that each of the counts

15    charged as the wires traveled in interstate commerce,

16    and the four wire counts are the three wirings of money

17    by Mr. Connell and the e-mail to Mr. Leuci, Exhibit 424,

18    so the three wires, Exhibits 10, 11, 12, and Exhibit

19    424.    And all they have to be -- they don't have to be

20    by Rosalind Herman or by anyone in particular, they just

21    have to be an interstate wire in furtherance of a scheme

22    that was foreseeable, that they knew that there would

23    be.    Well, if you're trying to get people to give you

24    money and they're wiring you money, that's foreseeable.

25    Here Mr. Caplitz actually sends that e-mail.
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 1            The difference for investment advisor fraud is you

 2    don't need the wires, you do need the interstate

 3    commerce, which is stipulated, and you need someone, a

 4    person associated with an investment advisor.                So you

 5    heard some questions about whether it was he who was

 6    your investment advisor, whether it was she who was your

 7    investment advisor?        She owned the companies so she was

 8    a person associated with an investment advisor.                In fact

 9    if you look at Exhibits 14 and 15 you'll see she was a

10    registered investment advisor.

11            In Count 1, conspiracy.         Conspiracy means an

12    agreement to do something the law forbids and somebody

13    takes one step in furtherance of that conspiracy.                  So

14    who are the conspirators here?           Gregg Caplitz and

15    Rosalind Herman.       And the agreement that they're charged

16    with is an agreement to do all those other crimes.                  So

17    they agreed to do the investment advisor fraud, the wire

18    fraud, and to impede the IRS, and somebody did something

19    in furtherance, anything in furtherance, going out and

20    asking people for the money, sending the wires, sending

21    the e-mails, putting together the baloney hedge fund

22    documents, anything in furtherance of the agreement.                     So

23    those are the charges.

24            Now, at the beginning of this trial Ms. Herman --

25    sorry, Ms. Murrane told you that this is a case about
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 1    greed and control.        Well, she got that right, huh?           I'm

 2    going to bring back up this chart, Exhibit 436.

 3            (On screen.)

 4            One way to think about this is this red line,

 5    that's the greed line, that's all the money they took

 6    from all clients in this case, all of these victims over

 7    here.    But the blue line, think about that as a control

 8    line, and that one is Rosalind Herman, that one is her

 9    control of the bank accounts, that's the money coming

10    in, it's got the Burts' money coming in and the

11    Connells' money is here, and until you come to the end,

12    (Writes.) and there's no money left.             (Circles.)

13            Now, at the beginning of this trial Judge Young

14    told you that Rosalind Herman stands before you

15    innocent, innocent until proven guilty, but now, now

16    you've seen the proof, now you've heard the testimony,

17    now the evidence has proven that she is guilty beyond a

18    reasonable doubt, guilty of all crimes that she is

19    charged with, guilty of scamming John and Carla Bigelow,

20    Melvin and Irene Burt, the Connells, Mr. Leuci,

21    Ms. Wentzell, and all the many others here, and I ask

22    that you render a verdict of guilty on all the charges.

23    Thank you.

24            THE COURT:     Counsel?

25            MR. O'HARA:      Thank you, your Honor.
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 1            THE COURT:     Mr. O'Hara.

 2

 3    CLOSING ARGUMENT BY MR. O'HARA:

 4            Mr. and Mrs. Bigelow, Carl Leuci, David Savage,

 5    the Ekmans, the Paleys, Ruth Schneider, Rita Hilgemeier,

 6    Patricia Wentzell, John and Linda Connell, they were all

 7    investment clients of Gregg Caplitz, and when he

 8    testified here on Thursday he kept trying to change the

 9    answers around, he denied the fact that they were his

10    clients.     Every victim who testified in this case

11    identified Gregg Caplitz as their personal financial

12    advisor.     He went into the inner sanctums of their homes

13    and sat in their living rooms and he deceived them in

14    order to get their money, he lied to them in order to

15    get their money, and when they wouldn't go along with

16    what he wanted to do, he stole their money, he forged

17    their signatures, he made unauthorized withdrawals of

18    their money, because he could, all in line with this

19    plan he had to join the overnight millionaires club by

20    becoming the compliance officer of a hedge fund.                   He

21    uses people, he uses institutions, to his own benefit

22    and he's trying to use you people also.

23            I'm not going to claim that Mrs. Herman was an

24    innocent victim of his deception, but it's important

25    that you keep in mind that from 2008 until 2012 the only
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 1    thing that she knew about the hedge fund was what he

 2    told her, that it was about to take off, that it was

 3    about to be funded, that he needed the money to pay for

 4    the lawyers and the advisors to get the templates in

 5    place, to get the filings with the Securities and

 6    Exchange Commission, and she did that.

 7            Ladies and gentlemen, it's important to follow the

 8    timeline.     He met her back in 1992 when she sold him a

 9    suit.    He decided, according to his testimony, that he

10    was in love with her and, um, I don't know what planet

11    he's on when he claims that he can meet someone in that

12    short notice and fall madly in love and advise the

13    person to become involved in tax evasion with him,

14    because he's so in love with her, and that he can't

15    dissuade her from overstating the deductions on her tax

16    returns because he can't win an argument with her, yet

17    he loves her, and yet she's crude and profane and

18    obnoxious and sometimes insults his personal investment

19    clients, but he loves her.

20            1993 was an important year regarding the chain of

21    events in this case in the relationship between

22    Mr. Caplitz and Mrs. Herman.           He tells you that she

23    didn't want to work for him because they were so in

24    love, so in order to get her to work for him he decides

25    to give her the controlling interest of a company he had
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 1    formed.     That is pure horse manure.          Because in 1994,

 2    what did he do?       He filed for personal bankruptcy.

 3            When you file for personal bankruptcy you list

 4    your assets on one side and you balance your assets

 5    against your debts, and when the bankruptcy petition is

 6    approved, you are shafting your creditors, you are

 7    wiping out all of your debts.           And when he dumps that

 8    company on her in 1993, it enables him to avoid listing

 9    that company and the assets and that it's his company as

10    an asset.     So not only do his creditors get screwed

11    because of the disbalance between the debt and what

12    assets he has, he manages to hide that asset from them

13    by using her.

14            And then after 1995, after the bankruptcy petition

15    has been approved, he has her set up companies in

16    Massachusetts and he assigns insurance commissions to

17    those companies.       Keep in mind he told you that when you

18    file for bankruptcy your credit history is destroyed,

19    you can't get loans, you can't get mortgages, and you

20    can't get credit cards, and who in this day and age

21    walks around without any credit?            So he has her

22    establish a couple of companies and he starts assigning

23    insurance commission checks to those companies, okay,

24    and that provides him with a number of advantages.

25            First of all he's admitted that he talked her into
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 1    paying his personal mortgage even though he knew it was

 2    illegal, that that wasn't a business deduction, he has

 3    her do it anyway.        He has her provide him with health

 4    insurance, which he doesn't report as income to himself,

 5    which is illegal, and he has her do it anyway because he

 6    loves her so much.        She pays the business expenses for

 7    that dump of an office he maintains.             She provides

 8    payment to the receptionist, her sister, who can't type,

 9    while she's the office manager, and she can't write, but

10    most importantly she picks up some of his personal

11    expenses and the big one is that he's allowed to use the

12    corporate credit card.

13            So after he shafts his debtors through her, then

14    he's able to get back on his feet again, bring some

15    money in, he dumps some income on her businesses, and

16    this is the quid pro quo they worked out.              And in terms

17    of the insurance commission checks, who were those

18    checks coming into, whose Social Security number is

19    going to be on the 1099 reported to the Internal Revenue

20    Service?     Gregg Caplitz.

21            And he told agents, during one of the many

22    debriefings, because they had trouble, I suggest to you,

23    believing what he was saying anyway, he admitted he

24    didn't worry about taxes, because Mrs. Herman was the

25    one dealing with the taxes.          He didn't care.       The
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 1    arrangement, assigning income to her properties enabled

 2    Mr. Caplitz to avoid paying taxes personally because he

 3    didn't have any of the money.           So he's taking advantage

 4    of her for the bankruptcy filing so he can keep his

 5    company, then he gets the company going under her name

 6    and he avoids having to pay taxes on it, except that he

 7    got caught in the end, didn't he?            And then when the

 8    insurance commissions run out, he decides to beat the

 9    bushes, do some research, and come up with the get-rich

10    scheme, "Let's start a hedge fund."

11             And how is he going to start a hedge fund?                Let's

12    be honest here, he's not much of an investment advisor,

13    is he?    He's an insurance salesman.           95 percent of his

14    income post 2000 was insurance commission checks and

15    after he screws that up, he's not getting that money

16    either.     In the meantime the money he's been taking in,

17    because of all the screw-ups, is being dissipated with

18    attorneys fees, which he says he didn't want to do, he

19    advised against getting involved in these lawsuits.

20    Well, the most important thing to him always is himself

21    and he wanted to be able to generate those commission

22    checks again with the insurance companies and that

23    basically was one of the problems they were having, the

24    legal expenses, so he's dumping this money into

25    businesses under her name.
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 1            And flow-through taxation, who's on the hook for

 2    the taxes with flow-through taxation?             What did

 3    Mr. White tell you?        It's the shareholder in the

 4    company.     So when the companies are set up, he makes

 5    sure he's not an officer, he's not a director, and he

 6    sure as heck is not a shareholder, because he's dumping

 7    the tax responsibility on her so he doesn't have to

 8    worry about it.       He doesn't care.       He's a sociopath.      He

 9    has a major personality disorder and he has no

10    conscience whatsoever and whoever gets in his way, the

11    heck with it.      You saw him over a two-day period of time

12    testify about money he stole from people he had known

13    for up to 25 years and I suggest to you he does not have

14    a hint or a twinge of remorse for what he did, he's just

15    telling you another story.

16            And the hedge fund.        He needs 75 to 85 million

17    dollars that he's going to get from, he told you, large

18    institutional investors.          Are you kidding me?        The MBTA

19    is going to give him 75 to 85 million dollars to run a

20    hedge fund?      And what's the attraction to this hedge

21    fund he's going to set up?          Well, he talked to his

22    bankruptcy lawyer and he found out that minority-run

23    hedge funds are a real hot item, that the large

24    institutional investors don't really care that much

25    about how good the hedge funds are going as long as they
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 1    are run by a minority member.           And who is the minority

 2    member that he can turn to to start this ridiculous

 3    venture?     Her.    With all of her flaws, chain-smoking, a

 4    little bit rough around the edges to the point of being

 5    jagged, with the knowledge that many of his investment

 6    clients can't stand her, and General Electric is going

 7    to take their employment pension funds and invest it

 8    with him because he has her as the face of the hedge

 9    fund?

10            And he admitted that he didn't really understand

11    the whole schlameel about standby letters of credit, it

12    was magic to him, and he manages to transfer over

13    $300,000 that he steals from his clients into a bank

14    account controlled by her, and he makes sure he doesn't

15    even have signing powers on the account because he wants

16    to keep himself separate from it, and then he takes the

17    $300,000 and he pays $84,500 to one group of lawyers,

18    another $34,000 to $40,000 to Sadis & Goldberg to come

19    up with a template, another $125,000 to somebody else he

20    finds, and guess what?         Just like magic, abracadabra,

21    poof, the money's gone.         So what does he do?        He goes

22    down to Rhode Island with his bankruptcy attorney, after

23    they lost $300,000, and reports the theft to the FBI.

24    The sociopath managed to get scammed.

25            It's important to look at what was going on here
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 1    and the relationship between the two of them.                She has

 2    problems, one of her problems, I suggest to you, is him.

 3    To quote my teenage daughter, "He's kind of creepy."                   I

 4    mean he's sending her these e-mails and she never

 5    responds to them and he tells you, "I was madly in love

 6    with her," but she didn't want to respond, she didn't

 7    want it in writing, she was afraid her husband would

 8    find out about it, so she didn't want to respond, "But

 9    we were in love, we had this passionate affair," so she

10    didn't want any public record.

11            Did you see a Valentine's card, a little love

12    note, a ring, jewelry, a shamrock pressed in a book?

13    Are you kidding me?        He's so in love with her that he

14    proposes marriage to her on the top of the Mystic Tobin

15    Bridge on a Thursday in December and he has the gall to

16    tell you that he got out on the top of the Mystic Tobin

17    Bridge in December and he got down on one knee and

18    proposed marriage to her and she accepted.               At the top

19    of the Mystic Tobin Bridge in 1994?             Those of you who

20    have been in this area for more than 35 or 40 years

21    probably remember back in 1989 when a young couple was

22    coming out of child-rearing classes over by Roxbury and

23    Longwood, over by the hospitals, and they were

24    supposedly attacked by a black man --

25            MS. BLOOM:     Objection, your Honor.
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 1            THE COURT:     Yeah, let's stick to this case.             Let's

 2    stick to this case.

 3            MR. O'HARA:      In any event, the Mystic Tobin Bridge

 4    is iconic not as a place where lovers meet, but as a

 5    place where people go to commit suicide, and that was

 6    the situation, the location that he tells you he chose

 7    to make this overture to his lover.             And what does she

 8    do?   She moves to Arizona -- excuse me, Nevada.               I keep

 9    getting them confused.         I've never been to either one.

10    She moves to Nevada to get away from him.

11            He's giving her a lot of money and she has

12    problems of her own, okay?          she's hard-scrabble, she has

13    a husband who's seriously ill, she has a son who has

14    brain damage, she has another son and a daughter-in-law

15    who just came out to visit and decided to stay.                So all

16    of a sudden she's living in Nevada, trying to develop

17    investment business, she gets two clients in a period of

18    20 years, and she's supporting five adults, and then

19    when her son gets married she's also supporting two

20    children, and he's giving her the money.              And from 2008

21    to 2012 he's telling her everything is okay.

22            He admits he tells her what she wants to hear,

23    "The money is yours, Rosalind, you can spend it as you

24    want, okay, if you have a tax issue with this money that

25    we're funneling into you, it's going to be reported as
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 1    capital gains," and I think most of you know that

 2    capital gains -- if you buy a house for $100,000 and you

 3    sell it 20 years later for $2 million, you have a $1.9

 4    million capital gain.         Capital gains are taxes that are

 5    assessed on what you owe, okay?            So he's telling her,

 6    "It's yours, go ahead and do what you want with the

 7    money, don't worry about it, you're selling assets in

 8    your company and you're the face of the hedge fund,

 9    okay, so go ahead and spend the money as you see fit,"

10    and then two or three times a year he goes out there and

11    he spends a month at a time.

12            Keep in mind in 2009 what does he do again?                He

13    files for personal bankruptcy.           This time he dumps more

14    than $2 million worth of debt that he had and leaves his

15    creditors once again holding the bag, once again he has

16    no credit history, once again he has no ability to

17    borrow money.      So he goes out to Nevada two or three

18    times a year, he stays a month at a time, and he gets to

19    go to the casino, he gets to tell her everything is

20    okay, and he makes sure that his name doesn't appear on

21    anything, it all appears under her name because he wants

22    to put as much distance between her and him as possible

23    because he knows what's going on, he knows what he did.

24    And most significantly, as he admitted to agents and

25    that he had to admit on the stand, he never told her, he
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 1    never told her that he was stealing money from the

 2    clients, he told her that they were investing money in

 3    her business, that they were buying her assets, he told

 4    her exactly what she wanted to hear because he loved her

 5    or because he wanted to keep the situation going.

 6            She asked Caplitz if the sale of her shares in the

 7    company would be income to her and he said, "No," that

 8    it might create a capital gains problem for her, and he

 9    told the agents in June of last year that she wanted an

10    investment that she would run and she could do whatever

11    she pleased and she believed that what she was doing was

12    selling assets that were personal to her and that she

13    could do what she wanted to do with the money.

14            The wire, the three wires that came from the

15    Connells' account, who wired that money?              It was Gregg

16    Caplitz, okay?       Mrs. Herman had nothing to do with that.

17    She didn't induce the wire transfer.             Caplitz talked

18    them into it.      Caplitz did it.

19            The conversations with Mr. Leuci?            After Caplitz

20    talks Leuci into investing the $100,000 -- and he says,

21    "Hey, listen, you know you're going to get a return of

22    between 9 and 20 percent a year," and then he gets her

23    on the phone with Mr. Leuci, not to induce Mr. Leuci to

24    make an investment but to get Mr. Leuci to calm down and

25    get off his back.        And he's telling Mrs. Herman, "Look,
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 1    look, look, look, we're right on the verge, we're right

 2    on the verge of entering the overnight millionaires

 3    club, the funding's about to come in, this Carl Leuci

 4    guy is a pain in the ass, tell him everything's okay."

 5    And she doesn't want to send him a distribution because

 6    why should he get a distribution when every other person

 7    who's involved in the fund wants to get a distribution

 8    also?    So they have a fight on the phone and she tells

 9    him, "I'll send you a check for $3,000, but I'm going to

10    write "gift" on it because it's not really a

11    distribution, it's not fair to the other investors."               He

12    deliberately keeps her as much in the dark as possible,

13    the same way he does with everybody else, and it's all

14    for his own benefit because he is a sociopath.

15            And when he decides to cooperate with law

16    enforcement it's nine months after he's been indicted

17    and he's had ample time to think about what he wants to

18    say and how he's going to spin it.            And when he

19    testified on the stand for two days in this case, he

20    also had ample time to think it over.             He's a bright

21    person, okay?      He's a bright person, but he's got some

22    wires crossed, and you can't accept at face value

23    anything he says.        And Judge Young will tell you what

24    your duties are regarding credibility, you can accept

25    all of it, you can reject all of it, you can do what you
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 1    want, but he's not an honest person and he's incapable

 2    of giving an honest answer.

 3            Just imagine for a moment what it must have been

 4    like when he went over to Mrs. Wentzell's house in

 5    Somerville and talked to her about the Red Sox and maybe

 6    helped her with her crutches and then got her to

 7    liquidate a $170,000 life insurance policy so that he

 8    could get the money transferred to Mrs. Herman and then

 9    use it to go out on his venture to start a hedge fund.

10    Think about it what it must have been like when he went

11    to the Leucis and he commiserated with them and said,

12    "Congratulations on coming out," and "By the way, guess

13    what, Carl?      I'm gay too and I've got a great investment

14    for you, it's going to be a return between 9 and 20

15    percent, just, you know, give me permission to take

16    $100,000 of your money and, man, you're going to be

17    happy, man, I can't wait to see the look on your face

18    when I give you those distribution checks."               And then he

19    had the gall to get on the stand and say, "Well, I

20    delivered the distribution check personally to

21    Mr. Leuci," when Mr. Leuci told you he didn't have the

22    guts to come and give him a $3,000 check when he was

23    expecting a distribution of at least $9,000.

24            And think about what happened when he spoke to the

25    Gilmartins and the Schneiders and Hilgemeiers, people
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 1    who didn't want to invest in a hedge fund, and

 2    Mrs. Bigelow says specifically, "I don't want any hedge

 3    fund, I'm afraid of happening to me what happened to the

 4    victims of Bernie Madoff."          But they trusted him, at

 5    least the Bigelows did, so he took their money.                She

 6    didn't, okay?      And then the Connells.         Disgusting.        A

 7    woman is dying of Stage 4 cancer and he goes to their

 8    house and he holds her hand and he commiserates with her

 9    and he talks her husband into wiring money into an

10    investment, wiring money that Mr. Caplitz wired in.                      And

11    it goes on and on from there.           He's been taking

12    advantage of people and telling stories for years and

13    he's telling a story to you.

14            If you're not convinced beyond a reasonable doubt

15    that Mrs. Herman knowingly participated with Mr. Caplitz

16    in what he was doing, you have to find her not guilty.

17    Okay?    That's the law as the law pertains in this case.

18    He has an interest in the outcome of this case, he

19    doesn't care about her, he doesn't care about his

20    victims, he doesn't care about you, all he cares about

21    is himself, and he's trying to do something of substance

22    so he gets some kind of credit and maybe possibly when

23    he appears for sentencing his sentence will be reduced.

24    But don't make his life any easier by adopting his

25    latest series of lies that he's trying to force down
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 1    your throats also.        Thank you.

 2            THE COURT:     A brief rebuttal?

 3            MS. BLOOM:     Yes, thank you, your Honor.

 4            THE COURT:     Okay.

 5

 6    REBUTTAL BY MS. BLOOM:

 7            Now Mr. O'Hara just talked a lot about Gregg

 8    Caplitz, but we agree, the government prosecuted Gregg

 9    Caplitz, no one is disputing that he is guilty and he

10    did horrible things, but Mr. O'Hara said something else

11    very interesting, he said he's not going to claim his

12    client is an innocent victim.           That's exactly the point.

13    Today is the day that Rosalind Herman is on trial and,

14    yes, Gregg Caplitz and Rosalind Herman worked together

15    to get these clients to put all the money into the bank

16    accounts, the bank accounts that were controlled by

17    Rosalind Herman.       The bank records show what she did

18    with the money.

19            She owned the companies.         She may not have been a

20    rocket scientist, but nobody is dumb enough to think

21    that it is okay to steal Patricia Wentzell's money.                She

22    knew about these clients, they were clients of her

23    business, they had been clients for years, she had met

24    with the Burts, she had talked to the Leucis, she knew

25    and she just kept spending the money.             These were her
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 1    businesses.

 2            And she was the boss, that was clear, not just

 3    from Mr. Caplitz, it was clear from the records, but

 4    more than that it's clear from the testimony of the

 5    people who dealt with them.          Even from her own family

 6    members, Charlene Herman, Brad Herman, he said he

 7    wouldn't be standing here if he had ever given the money

 8    to Gregg Caplitz instead of to his mother.               Do you

 9    remember at first he tried to claim that "Maybe I did

10    give some of it to Gregg Caplitz," and then I went back

11    over his prior testimony with him, he had said, "She was

12    so controlling, I'm surprised she didn't have a GPS on

13    my mouth right now."        This woman was not duped, she was

14    not dragged into this.

15            And this is a really strange way to take advantage

16    of someone, to give her millions of dollars, because

17    that's what Gregg Caplitz was doing all these years.

18    Yes, he was getting some of the money, but he was giving

19    her money and then the fact is she didn't pay the taxes.

20    They did all sorts of schemes between them not to pay

21    the taxes and to get money from these victims which she

22    controlled and spent on the Las Vegas house, on Smoker's

23    Haven, on Red Rock Casino -- just look through those

24    records, and on family members.

25            THE COURT:     Sum up, Ms. Bloom, this is rebuttal.
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 1            MS. BLOOM:     I'm sorry, your Honor?

 2            THE COURT:     Sum up.

 3            MS. BLOOM:     Sum up.

 4            So the evidence is clear and it's clear from her

 5    e-mails telling him not to put it in writing, her

 6    communication with Mr. Leuci, with Mr. Burt, trying to

 7    keep them from going to the authorities, she was part of

 8    this too, she was no victim, they were in this together,

 9    they were a couple of lying thieves, and she too is

10    guilty on all counts.

11            THE COURT:     All right.      Still now keep your minds

12    suspended because you have not heard my instructions as

13    to the law.      Do not commence discussing the case among

14    yourselves and naturally don't discuss it with anyone

15    else.     We'll give you another 15 minute recess, you'll

16    be in again, and I will instruct you as to the law.                The

17    jury may stand in recess for 15 minutes.

18            (Jury leaves, 11:10 a.m.)

19            THE COURT:     I'll remain on the bench.          Please be

20    seated.

21            With respect to the four wire fraud counts, they

22    rest on specific communications.            I asked about this

23    before and Ms. Bloom you answered.

24            Do you want to hand up those exhibits, um, Count

25    4, on or about November 17, 2008, and that's Exhibit
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 1    what?

 2            MS. BLOOM:     10.

 3            THE COURT:     May I have it?

 4            MS. BLOOM:     Yes, we're going to get it right now.

 5            THE COURT:     All right.      And Count 5, February 25,

 6    2009.

 7            MS. BLOOM:     Well, I believe it's 10, 11 and 12,

 8    and 424.     We'll pull those right out.

 9            THE COURT:     Okay, why don't you do that, if you

10    just give me the packet of those.            And you can give them

11    to Ms. Gaudet.

12            MS. BLOOM:     I think Jennifer has 424.

13            THE COURT:     Well, you put them together.

14            A 15-minute recess.        We'll recess.

15            (Recess, 11:11 a.m.)

16            (Resumed, 11:30 a.m.)

17            THE COURT:     I'll ask the members of the jury if

18    they won't stand up for just one moment, please.                   You're

19    not taking any notes while you're standing.

20            (Jury stands.)

21            THE COURT:     It's a tradition in this session of

22    the court and in the court where I started my judicial

23    service that at the beginning of the judge's charge in a

24    so-called criminal case the judge and the jury stood and

25    faced one another, and this is not why we all stand up,
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 1    as you go in and out, out of respect for the jury's role

 2    in our process, you and I stand now, together, out of an

 3    acknowledgement that we live under a Constitution that

 4    by its guarantee ensures that both the government and

 5    Ms. Herman will have in this case a fair and an

 6    impartial trial and that the jurors and the judge in

 7    such a trial will be as fair and impartial as the lot of

 8    humanity will admit.        And it is that shared

 9    responsibility that we all acknowledge now.               Please be

10    seated.

11            (Jury is seated.)

12

13    JUDGE'S CHARGE TO THE JURY:

14            This is the part of the case where I will explain

15    to you, it's like a law school class, I will teach you

16    the law that you must follow in analyzing the evidence

17    in this case.      If I don't make anything plain, by all

18    means you can write out a question, we'll have you back

19    in here -- you can do it at any time during your

20    deliberations.       If you have -- if you have any question

21    about the law in this case -- I have nothing to say

22    about the evidence, but if you have any question about

23    the law, write your question out, we'll have you back in

24    here, I will further explain the law, and send you back.

25            We ask you to do justice, which of course we mean
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 1    fairly and impartially apply the law to the evidence as

 2    you find it to be.        You can't do that unless you

 3    understand what the law is, so don't hesitate to ask me

 4    questions.     This will also prove to you that I work in

 5    the afternoons, I'll be here while you're deliberating.

 6    Let's start where I started when first we met.

 7            There are two great principles that govern this

 8    case.    First, Ms. Herman started this trial innocent,

 9    truly innocent.       You don't hold it against her that we

10    had a trial, that she's here, that's completely unfair,

11    she started the trial innocent.            If she were to be found

12    guilty on one or more of these charges, it could only be

13    because you, the jury, come unanimously to believe that

14    the government has proved the essential elements of that

15    charge beyond a reasonable doubt.            And of course I've

16    now invoked the second great principle.

17            The burden of proving here rests on the government

18    and it never ever shifts to Ms. Herman.              She has nothing

19    to explain to you.        She is not required to.         You do not

20    hold it against her if something is left unexplained

21    because that would shift to her some duty of explaining.

22    That can't be right.        That's not our way.        The

23    government can't make a charge, bring someone into

24    court, and say "Explain yourself."

25            And of course have in mind everything that was
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 1    done here.     Mr. O'Hara, Mr. Benzaken, they have examined

 2    these witnesses, they have asked the witnesses

 3    questions, they have called a witness, they have

 4    introduced documents, stipulations, all of those things,

 5    and to the extent they have asked questions, you can

 6    make the information that's been elicited what you will,

 7    it could tend against her as well as for her.                It makes

 8    no difference where evidence comes from, you make of it

 9    what you will.       The important thing is the burden of

10    proof rests on the government and it never moves and the

11    burden of proof is proof beyond a reasonable doubt.

12            A moment about your function.           There are two

13    alternates in this jury.          Two of you, when I'm done

14    teaching you, we're going to pick the two alternates,

15    we'll ask you to come down and sit in these chairs here,

16    and when we send the 12 deliberating jurors out, the two

17    alternates take a left and go in my little office there.

18    They call it the "robing room," but I consider that

19    incredibly pompous, but I didn't make up the signs.                 And

20    you'll just relax there and we can bring in magazines

21    and books, you have access to a phone, and you don't get

22    to deliberate.

23            And so you say, "Well, I've wasted all my time,

24    why are you doing that?"          Please don't think that.         We

25    have two alternates -- and I'm talking to all of you.
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 1    We have two alternates and that ensures just how serious

 2    this matter is.       And the alternates will stay through

 3    the entire deliberation of the jury, if it takes longer

 4    than today, however many days it takes, and when the

 5    verdict is returned, the two alternates will be sitting

 6    right there, they are members of the jury, they just

 7    don't deliberate because the rule says that 12 members

 8    of the jury deliberate.

 9            Now, I don't expect this, but I've been at this

10    for a while and it has happened.            What if, among the

11    deliberating jurors, it turns out there's a real

12    emergency at home or one of the deliberating jurors gets

13    sick, that's happened, and we have to excuse a

14    deliberating juror?        In that case I have the alternates

15    and I send an alternate in.          If that were to happen, and

16    I'm emphasizing how important alternates are, I will

17    instruct the jury that the deliberations start all over

18    again right from the beginning.            It isn't eleven of you

19    who have been talking for two or three hours and then we

20    send an alternate in and you tell the alternate, "Now,

21    here's what we think, this or that," it's a different

22    jury then because it has eleven who have been

23    deliberating and it has one additional alternate.                  It's

24    not additional because we've lost one.

25            So all of you, you are going to determine the
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 1    facts in this case from the evidence as you've seen it

 2    and heard it, nothing else whatsoever, no bias, no

 3    prejudice, no sympathy for anyone, no desire that anyone

 4    have revenge, just that cool, careful sifting of this

 5    evidence so that here, in this courtroom, justice truly

 6    may be done.

 7            I'm the judge of the law.          You truly must take the

 8    law from me.      Don't think that because I explain all

 9    aspects of the law that I think anything's been proved

10    here or nothing's been proved.           That's not my business.

11    I have nothing to say about that.            What I'm doing for

12    you is building for you a mental framework within which

13    you, and you alone, will decide what the evidence shows

14    or fails to show.        Don't grab on to something that I say

15    and say, "Ah-ha, the case turns on this or that."                  Not

16    so.   Listen to the entire charge, all of it should fit

17    together.

18            When I say you must take the law from me in its

19    most practical way I mean the following.              I'm going to

20    tell you as to each of the charges here the essential

21    elements, those particular things that the government

22    has to prove.      As to those things you've got to decide

23    whether unanimously you believe the government has

24    proved those things beyond a reasonable doubt.                If any

25    one of those things is -- on that particular charge, is
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 1    not proved beyond a reasonable doubt, Ms. Herman must be

 2    acquitted, she must be found not guilty of that charge.

 3    If those things the government has proved to you are

 4    satisfied to you beyond a reasonable doubt, then you may

 5    find her guilty of that charge.            But you can't add

 6    anything to those essential elements and equally you

 7    can't subtract anything.          You can't say to yourself,

 8    "I'm not particularly concerned with that, whether they

 9    proved that."      If I tell you the government has to prove

10    it, that's one of those things they have to prove beyond

11    a reasonable doubt and you have to unanimously come to

12    believe it.

13            I keep talking about proof.          What do I mean?

14    There are two types of proof that we accept in court,

15    direct evidence and circumstantial evidence.               Direct

16    evidence is evidence directly of a specific point.                  An

17    example would be a witness who was there and you believe

18    the witness, it's entirely up to you what you believe,

19    but the witness says, "I saw this," "She said that," and

20    also direct evidence is the actual, for example, bank

21    records, the evidence of payments in, payments out, the

22    documents that are used in business to evidence those

23    commercial transactions, perhaps the actual tax returns,

24    that type of evidence.

25            Circumstantial evidence is evidence of a
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 1    circumstance which, when coupled with other

 2    circumstances, leads to a conclusion.             A case may be

 3    proved on direct evidence entirely, on circumstantial

 4    evidence entirely, or on any combination of direct and

 5    circumstantial evidence.          If those are the types of

 6    proof that you may rely on, what tools have you in this

 7    case upon which to make up your minds?              Actually there's

 8    a variety of them in this case.            Let me touch on each

 9    one.    There is the -- and I'm not picking -- I'll start

10    with the testimony of the witnesses but only because it

11    comes into my mind first, not that it's the most

12    important, it's up to you what's important, but the

13    testimony of the witnesses.

14            If I let a witness testify to something, you can

15    believe it, but equally you can disbelieve it.                You can

16    disbelieve it, you can disbelieve everything a witness

17    said as though that witness never took the stand.                  And

18    you can believe some things a witness said and

19    disbelieve other things that the witness said.

20            Now, how do you do it?         You're entitled to use

21    everything you know, as you are reasonable men and

22    women, about these witnesses, everything that you know

23    about them from their testimony and the testimony of

24    others, and you're entitled to use all your abilities to

25    size the witness up from watching the witness on the
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 1    witness stand.       How did the witness respond to questions

 2    both on direct and on cross-examination?              What was the

 3    witness's ability accurately to recall events in the

 4    past, to relate those events, to understand, to

 5    comprehend the matters about which the witness

 6    testified?     Does the witness stand to gain or lose

 7    anything depending upon how this case comes out?                   Does

 8    the witness bring any feelings or interests into the

 9    case?

10            Certain people have testified that they are out

11    money in this case.        Does that engender emotions, did

12    the emotions affect their testimony, cause them to

13    embellish or say things that are exaggerated in any way,

14    do they have any interests?          Other witnesses are -- a

15    couple of them are employed by the government.                Does the

16    fact of that employment, does that cause them to

17    embellish or see things in the way that the government

18    seeks to have them presented or are they accurate?

19            One witness, Mr. Caplitz, he has pleaded guilty

20    and he has testified to you that he's a conspirator and

21    that he has done various things himself relative to

22    these specific events.         The law says that you must take

23    the testimony of such a witness as Mr. Caplitz and view

24    it with special scrutiny because the law recognizes that

25    a person in that position may seek to inculpate, to
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 1    involve other people, exaggerating their role and

 2    minimizing his role, in order to seek a better outcome

 3    from the criminal justice system.

 4            At the same time a witness such as Mr. Caplitz may

 5    be telling the entire truth.           Witnesses employed by the

 6    government may be telling the entire truth.               People who

 7    have lost money may be telling the entire truth.

 8    Ms. Herman's sister testified, so there's that

 9    relationship, and she testified about her close

10    relationship to her sister.          Did that affect her

11    testimony?     But she may be telling the entire truth.

12            In short, the law imposes this duty of special

13    scrutiny on Mr. Caplitz, but it's entirely up to you

14    people, as you are reasonable men and women, you use

15    everything you know about these witnesses.               How does the

16    testimony -- does it hang together?             Is the testimony --

17    it isn't just testimony in this case, is the testimony

18    backed up by other evidence in the case, the exhibits in

19    the case, or does that testimony take away from it, make

20    it less believable, less credible?            You're the judges of

21    credibility, the only judges of credibility, and your

22    powers are extremely broad.          If a witness has testified,

23    you may believe everything the witness said, you may

24    disbelieve everything the witness said, you may believe

25    some things a witness said and disbelieve other things.
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 1    You may sum up a witness's testimony as you are

 2    reasonable men and women.

 3            So I mention exhibits.         Now, the exhibits, you're

 4    going to have all these exhibits and there's over 400 of

 5    these exhibits, not all of them have been mentioned in

 6    the case nor need they be mentioned.             Certain of them

 7    are mentioned, but these are the exhibits that I have

 8    determined that at least you ought to look at and

 9    whether they mention them or not, this is what the

10    lawyers put together to have in this case.               Your power

11    with respect to exhibits is as broad as your power with

12    respect to witnesses.

13            With respect to an exhibit, you want to analyze it

14    really on two points, take a look at the exhibit and

15    then see is it genuine?         Now in this day of digital

16    reproductions, don't worry about whether something's a

17    copy, I haven't heard any evidence that something was

18    fake here, but it's entirely up to you, so check it out,

19    is this real, is it accurate?           And if it is accurate and

20    you believe the document is what it purports to be, what

21    does it tell you about this case?            How does it fit?

22    What do you know about the case because of the exhibit?

23    Your powers are just as broad.           If you have an exhibit,

24    you may believe what it says, equally you may disbelieve

25    it and disregard it, you may believe parts of it and
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 1    disbelieve other parts.

 2            Now, we've got some summary exhibits that the

 3    government made out or at least they put together and

 4    those are summarizing of other documents and to the

 5    extent you have those documents maybe you want to make a

 6    comparison to see if they are in fact an accurate

 7    summary, but if they're in evidence before you, you may

 8    believe them, but you need not.

 9            A couple of the exhibits, because they marked them

10    as exhibits even though they were read, there's been

11    stipulations here.        Now, stipulations should really save

12    you time because not everything is disputed.               So where a

13    stipulation was read to you, that's agreed, there's no

14    dispute about it, it's agreed, so you don't have to do

15    any analysis about it, you can just take it as given.

16    Still so powerful is your role as jurors, you can

17    disregard it.      I'm telling you they agree to it, but you

18    could disregard it.

19            And then I think the last thing is, because

20    reference is made or because apparently there was this

21    other unrelated civil case, that civil case involved

22    what we called depositions, and I've explained what they

23    are, and some answers given on deposition were read to

24    you, and that's like the witness testifying, that's like

25    that person testified, and if the person said those
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 1    things, you may believe what was said, but you need not,

 2    you can disbelieve it.

 3            So those are the sources of evidence that you have

 4    in this case.      Now, what do you do with that evidence?

 5    Look, you don't check your common sense at the door to

 6    the jury room, just the reverse, I charge you to apply

 7    your common sense to the evidence in this case to the

 8    end that justice may be done.           But the burden of proof

 9    here is not common sense, of course you can use your

10    common sense, the burden of proof here is proof beyond a

11    reasonable doubt, and there must be no guesswork, no

12    speculation, no "maybe this happened," "perhaps,"

13    "possibly," "it could have," not even that it's likely

14    that this or that happened, it has to be proved beyond a

15    reasonable doubt.

16            You are entitled to draw what are known as

17    reasonable inferences, logical deductions.               Let me give

18    you an example both to tell you what a logical deduction

19    is, a reasonable inference, but also to warn you away

20    from what you cannot do, and it has nothing to do with

21    the case.

22            Suppose we have a witness and the witness says

23    she's walking along a road and off to one side there's a

24    field of barley.       You all know barley, they make scotch

25    from barley, beautiful long green stalks, gray tassels.
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 1    And she's passing the field and she notices that in an

 2    irregular course through the field the barley has all

 3    flattened out.       Now that's my supposition here.            And

 4    suppose you believe that witness, you believe that

 5    witness is telling the truth.

 6            Now, from that testimony alone you see that

 7    circumstance which you believe, you can reasonably infer

 8    something went through the field.            The witness didn't

 9    see it, but something went through there.              If for

10    instance it was a wind storm, it would have knocked all

11    the barley down.       Something went through that field.

12    But if that's all the testimony you have, you don't know

13    what it was, an animal, a person, big, small, a dog, a

14    wild animal, an adult, a child, someone on a dirt bike,

15    you don't know any of that, you just know something went

16    through the field.        So, yes, you may draw reasonable

17    inferences, but no, you may not guess nor speculate.

18            Now, I'm going to have the Clerk pass out the

19    verdict slips here.        We only need one verdict slip back

20    and that's the one from the foreman and he signs it on

21    your behalf.      But now that I'm going to go through the

22    different charges, it makes sense if you each get a look

23    at the verdict slips so you see how it -- the questions

24    that it asks you.        And while it's being passed out, I

25    want to mention two things that are not evidence, but
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 1    I -- well, actually three things that are not evidence.

 2    The first is this.

 3            Don't you draw any conclusions against

 4    Ms. Herman -- and I've already said this, but my verdict

 5    slip makes reference to certain counts.              Counts are the

 6    paragraphs in the charging document and I just wanted to

 7    tie the verdict slip into particular counts, and you'll

 8    see really that the counts are not numerically in

 9    sequence and some counts are omitted and that's because

10    some things we're not asking you about, they either

11    involve other people or they involve different things,

12    and we're not asking you about them, so don't speculate

13    about them.

14            But the first thing that's not evidence is the

15    fact that charges have been made.            It doesn't amount to

16    anything.     Nothing.     Zero.    She started the trial

17    innocent.

18            Second, and I'm privileged to say this, the

19    lawyers here for the government, for Ms. Herman, you

20    have done a fine job as officers of the court, you have

21    marshaled the evidence, its strengths, its weaknesses,

22    you have advocated on behalf of your clients, it's a

23    privilege to preside over a case that has been well and

24    truly tried.      I don't say that in every case.            I think

25    you know that.
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 1            Now that's the truth.        Disregard it.       And the

 2    reason I point that out is I don't want you deciding

 3    this case in any way, shape, manner or form, based upon

 4    how you react to these attorneys as people.               I mean if

 5    you think the presentation has been understandable, has

 6    helped you grasp the evidence and understand it, its

 7    strengths or its weaknesses, that's fine, that's what

 8    attorneys are supposed to do.           They've done a fine job.

 9    But you decide the case on the evidence.

10            Now, that's equally important the other way.               If

11    any attorney has done anything to offend you here,

12    somehow just the presentation, the questioning has

13    grated on you, don't hold that against the client, the

14    government or Ms. Herman, that's not fair.               Stick to the

15    evidence.

16            And lastly, if you think that I think anything at

17    all about this case, I most earnestly instruct you to

18    disregard it.      And I tell you as surely as I know my own

19    heart, I have no views about how this case will come

20    out.    I do not talk about this case with the judge or

21    the dean or any of my law clerks, or at least the

22    substance of the case, I talk about the law with the law

23    clerks, but like I've just said to you, I'm -- I've got

24    more than enough to do out here, but I'm not the judge

25    of the facts in this case, you are.             So if you think
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 1    that I have some view about this case from the manner in

 2    which I presided over it, disregard it, I don't, I have

 3    no clue to give.       But I do have this bias and it is a

 4    strong and intense bias, I believe that you people will

 5    do justice in this case.          I believe in the jury system.

 6            Now, let's come to this verdict slip and I have

 7    arranged it more or less in the way it was argued to you

 8    though that isn't numerically how these so-called counts

 9    set out, and I want to look first, the first question

10    charges Ms. Herman with this corrupt endeavor to impede

11    the IRS and I've given you the years over which the

12    government has charged that she did it.              So what does

13    that mean?     And let's go over the essential elements of

14    that first one.

15            First of all, for the corrupt endeavor to impede

16    the due operations of our Internal Revenue Service,

17    first, she, Ms. Herman -- not Mr. Caplitz, though you

18    could, and I'm not suggesting you would, but you could

19    find they were operating together, that's what the

20    government has argued to you, but you've got to find

21    that Ms. Herman was acting corruptly.             What does that

22    mean?    It means she was acting with an evil motive.

23            People make mistakes on their taxes all the time,

24    that's not a crime, it just isn't.            She has to act

25    intentionally to either underreport what monies she was
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 1    supposed to report, on her own behalf or on behalf of

 2    some sort of entity that would pass through to her, or

 3    overclaim deductions that she knew or reasonably

 4    understood she had no right to claim with the idea that

 5    the government would not get its due, and she's got to

 6    do that knowing what she's doing, intentionally, or the

 7    government can, and it's appropriate, they can prove --

 8    they can succeed if you come to believe unanimously that

 9    she was acting with willful blindness.

10            Now, what does "willful blindness" mean?              "Willful

11    blindness" is -- well, first, it's willful.               "Willful"

12    means reckless, heedless of the consequences, not caring

13    what taxes were due, not caring what the proper

14    deductions were or the proper accounting of income, just

15    not caring about anything such as that and turning a

16    blind eye toward it, letting other people do it

17    without -- without, one, caring, and willfully blinding

18    oneself to what was being reported in circumstances

19    where it's reasonably understood that the tax return, if

20    tax return was filed, is inaccurate.             So it's got to be

21    done corruptly or through willful blindness.

22            And then it's a corrupt endeavor, it doesn't have

23    to succeed, but you've got to try, that's what

24    "endeavor" means, that's the second thing.

25            And then third, obstruct or impede the due
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 1    administration of the Internal Revenue Laws.               That

 2    simply means to foul up the government agents who have

 3    to carry out those laws, make their jobs more complex,

 4    more difficult, more costly.

 5            Now, in one respect I must correct something that

 6    the government said.        The government charges that she

 7    was doing it throughout the tax years 2003 through 2012

 8    and the government has put on whatever evidence it has,

 9    but it was argued twice to you that any one thing during

10    all that time makes her guilty.            No, it doesn't.         And

11    that's because they charged her from 2003 to 2012.                   And

12    when you make a charge, the charge has to be

13    sufficiently detailed that a person who is being charged

14    knows what the government says you did wrong.

15            Now, here, in terms of charging, she knows that

16    they say she was corruptly endeavoring to impede the IRS

17    throughout the years 2003 to 2012.            The government does

18    not have to prove beyond a reasonable doubt every single

19    one of those years, it's on or about, but they do have

20    to prove that the bulk of that time, because that's what

21    they charged, the bulk of that time, beginning at least

22    as early as 2003 and running as late as 2012, she was

23    corruptly, or with willful blindness, endeavoring to

24    impede or obstruct the IRS in collecting the taxes.

25    That's what they have to prove, that's that first
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 1    question.

 2            Now, the second question, the second question

 3    charges her with an alleged violation of the Investment

 4    Advisors Act and the alleged violation is fraud.                   So

 5    let's talk about what it is that the government has to

 6    prove with respect to a violation of the Investment

 7    Advisors Act.

 8            Well, they have to prove that she did -- she, she

 9    herself, or acting in concert with Mr. Caplitz -- if she

10    and Caplitz were in doing it together, that's sufficient

11    under this charge, that she, or she and Caplitz

12    together, employed a device, scheme, to defraud a client

13    or a prospective client, she engaged in a transaction,

14    practice or course of business which operated as a fraud

15    or a deceit upon a client or a prospective client or she

16    engaged in an act, practice, or a course of business

17    which was fraudulent, deceptive, or manipulative.

18            Now, any one of those three, if the government

19    proves any one of those three, that's sufficient.                   What

20    the government has argued to you is the fraud is the

21    setting up, the alleged setting up of this hedge fund

22    and the selling of shares in the management of the hedge

23    fund, it won't matter the way they've argued it, without

24    any intention that anyone actually get any recovery and

25    in fact spending the money.          That's what they've argued
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 1    to you.     And so you ask yourself, is that a device --

 2    have they proved it, and is that a device, scheme,

 3    artifice to defraud.

 4            "Fraud" means saying something that makes a

 5    difference, is material, makes a difference to an

 6    investor which you know is not true or failing to say

 7    something which under the circumstances you'd have to

 8    say in order to make something you have said true with

 9    the idea that the person will part with money and you

10    will get the benefit -- and it's not just money, it's

11    money or property, and that you will get the benefit of

12    that money or property on account of the

13    misrepresentation of material fact.             That's fraud.      And

14    I've explained the three different ways that the

15    government could prove that.

16            The second thing that the government has to prove

17    as to investment advisory fraud is that Ms. Herman did

18    so, did the acts knowingly, knowing that's what she was

19    doing, willfully, heedless of the consequences, with the

20    idea, the intent to deceive, manipulate, or defraud.

21            Third, that she was an investment advisor or she

22    was a person associated with an investment advisor.                 Now

23    what does that mean?        Be specific here.        That means that

24    they must prove the following.           The term "person

25    associated with an investment advisor" means any
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 1     partner, officer, director of such investment advisor,

 2     or any person performing similar functions, or any

 3     person directly or indirectly controlling or controlled

 4     by such investment advisor, including any employee of

 5     such investment advisor.

 6            Now the government argues it both ways, they say

 7     they've got evidence that she was a registered

 8     investment advisor herself and, if you don't believe

 9     that, they say well she was a person associated with an

10     investment advisor, the investment advisor being

11     Mr. Caplitz.      That's what they argue to you.           But

12     they've got to prove one of those, either she was an

13     investment advisor or a person associated with an

14     investment advisor.

15            And lastly they have to prove that the fraudulent

16     scheme or transaction involved direct or indirect use of

17     the mail or some other means or instrumentality of

18     interstate commerce.        That's as important as the other

19     essential elements.        That's what brings us into the

20     courts of the United States.          Congress can regulate

21     commerce.     There has to be some relationship to

22     commerce.     Now, it can be direct or indirect, but there

23     has to be some effect on the commerce of the United

24     States, however slight, from this fraudulent scheme, if

25     you believe it was, setting up this hedge fund.                  So
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 1     that's count -- that's the second question, Count Number

 2     2.   And then we jump to really Questions 3, 4, 5 and 6,

 3     they charge wire fraud.

 4            Now, wire fraud is similar in many respects

 5     because what is required to be proved is the same scheme

 6     or artifice to defraud, just like I've explained it,

 7     they have to prove that she engaged in it herself

 8     knowingly or willfully, either she or she in concert

 9     with Mr. Caplitz, but what makes it different is that

10     the wire communications of the United States have to be

11     used by somebody in order to make that fraud come about.

12     Again that's the commerce piece.

13            Now she doesn't have to know it, but it's got to

14     be reasonably foreseeable that in order to make this

15     scheme work, the wire communications of the United

16     States are going to be used.          And what's different about

17     wire fraud is, in investment advisor fraud they've

18     charged what they allege is the scheme, one charge, but

19     wire fraud, every time the wire communications of the

20     United States are used, that theoretically constitutes

21     another crime and they charged four such communications.

22            Now, I put the dates down there.            They don't have

23     to prove that the communication was actually on that

24     specific date.      But again in order to give her fair

25     notice of what the government's charging, they have to
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 1     prove that there was a wire communication on or about

 2     that date.

 3            Just so you're clear, the one thing the government

 4     says as to Count 4, this one allegedly on November 17,

 5     2008, they've introduced Exhibit 10.            On the one they

 6     say was Count 5, my Question 4, on February 25th, 2009,

 7     they've introduced Exhibit 11.           On Count 6, my question

 8     5, the one they say on May 18, 2009, that's Exhibit 12.

 9     And when you go over to the second page, as to Count 7,

10     my Question 6, the one they say on July 24, 2012, that's

11     what they say, or what they've introduced anyway, and

12     argued from Exhibit 424.         That's how those exhibits

13     supposedly tie in with those specific questions.                   So

14     that's wire fraud.

15            And then lastly conspiracy.           Now, conspiracy is

16     different again, there has to be something different in

17     each one of these charges or else it would just be the

18     same alleged crime and I wouldn't ask a separate

19     question.

20            Conspiracy requires that they prove three things.

21     First, that Mrs. Herman entered into a conspiracy with

22     Gregg Caplitz, that she and Gregg Caplitz entered into a

23     conspiracy, knowing -- knowing what they were doing.

24     You're not a member of a conspiracy because you hung

25     around with the wrong person.          You're not a member of a
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 1     conspiracy because someone that you were associated

 2     with, that person was breaking the law, you're not

 3     guilty of conspiracy.        You're not guilty of conspiracy

 4     if someone you're associating with is breaking the law

 5     and you know about it.        Conspiracy requires that

 6     Ms. Herman and Mr. Caplitz had an agreement, had a deal,

 7     had a genuine understanding that they were going to go

 8     about breaking the law.

 9            Now, they don't have to say to themselves "We're

10     going to break the law," but it has to be they have to

11     agree to do acts which constitute violations of the law.

12     You don't have to know specifically about the Investment

13     Advisors Act, you don't have to know about wire fraud,

14     but you have to knowingly enter into a deal to do those

15     acts which violate the law.

16            So the deal doesn't have to be in writing, it

17     doesn't have to be a handshake, it doesn't have to be a

18     wink or a nod, but it's got to be an actual deal between

19     both of them.      That's the first thing.         That Ms. Herman

20     knowingly entered into a conspiracy with Mr. Caplitz to

21     do various activities that violated the law.

22            Second, they both have to agree on the specific

23     intent, there has to be a specific intent as to what

24     activities they're going to do.           For example -- and

25     here's what the government has charged.             The government
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 1     has framed it.      They say the government charges these

 2     two people were in a conspiracy which, perhaps among

 3     other things, but we're only dealing with what's

 4     charged, which involved corruptly endeavoring to impede

 5     the IRS over the bulk of those years that I mentioned,

 6     engaging in investment advisor fraud, violating that

 7     act, and engaged in wire fraud in a variety of ways,

 8     trying to set up this, the government says, fraudulent

 9     alleged hedge fund and sell shares in its management.

10     So that's got to be the specific intent.

11              Now follow this.     The government charged that all

12     three of these different types of crime have to be

13     encompassed in the deal between the two, corruptly

14     endeavoring to impede the collection of taxes, engaging

15     in investment advisor fraud, engaging in wire fraud.

16     That's the second thing the government has to prove.

17     Now, if that wasn't their intent, if the conspiracy

18     wasn't that broad, if it was more narrow, and, yeah,

19     there was a conspiracy to do one of those three

20     different types of criminal activity or even to do two

21     of those types of criminal activity, then she's not

22     guilty of conspiracy the way the government charged it

23     here, she and Caplitz have to knowingly agree together

24     to do all three of those things.           That's the second

25     thing.
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 1              But with conspiracy, they don't have to do it,

 2     they don't have to succeed at any of these crimes.                 In

 3     other words, your verdict could be not guilty all the

 4     way up to conspiracy.        But then they have to prove -- if

 5     they prove those first two points on conspiracy, the

 6     government has to prove that somebody -- and logically

 7     it would either be Ms. Herman or Mr. Caplitz, one of the

 8     co-conspirators, if you think there's a conspiracy, did

 9     something to make the conspiracy come about, whether it

10     was successful or not they did something.

11              So for conspiracy the government has three things

12     to prove, that she knowingly entered into a conspiracy,

13     that the specific intent of their conspiracy encompasses

14     the different charges here, the impeding the IRS

15     corruptly, the investment advisor fraud, and wire fraud,

16     and then one of them did something to make that come

17     about.

18              Now a few words about your deliberations.

19     Mr. Foreman, as foreman it doesn't mean you do all the

20     talking, nor does it mean you keep your mouth shut, and

21     really I'm talking to all of you.            Set things up there

22     now so that all of you can discuss the case together.

23              Now, when I send you out now, I'm not going to say

24     keep your minds suspended, now is the time to start

25     discussing the case, and mechanically it's going to work
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 1     like this.     We'll send you out, take your notebooks, and

 2     a word about notebooks.         Your notebooks are just for

 3     you, you may have them, you may of course refresh your

 4     recollection with your notes, that's why we let you take

 5     notes, but don't pass your notes around, your notes are

 6     not evidence of anything, it doesn't make you a better

 7     juror as opposed to a juror who didn't take notes, it's

 8     to help you, just use your notes yourself.

 9             So you go out and you start your deliberations.

10     Ms. Gaudet's going to come back and sit down with the

11     lawyers and go over all of the exhibits that you should

12     have.    She'll come in -- you can start, but she'll come

13     in then with all the exhibits, so physically you have

14     the exhibits, then she'll leave you and then you have --

15     you can go on with your deliberations.

16             It's -- deliberations are deliberations of all 12

17     of you in the jury room, not 10 of you talking about the

18     case and two of you wondering what they're doing over at

19     Vertex and who is the owner of the big frog in the

20     window up there.

21             (Laughter.)

22             You focus on this case.        Now is the time to

23     deliberate together.

24             It is probably not a good idea to take a straw

25     vote.    I know we've asked you seven different questions,
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 1     but it's probably not a good idea, right at the outset,

 2     to say, "Well, how many people think this?              How many

 3     people think that?" and the reason for that is this.                  If

 4     you do that right at the outset of your deliberations,

 5     you may think that under your oath as jurors you're

 6     required to stick to that view.

 7              Now, if you have any strong view about any aspect

 8     of this case, I most earnestly instruct you to adhere to

 9     it.   Adhere to it.      We ask you for your verdict, we do

10     not demand your verdict.         At the same time listen to the

11     views of your fellow jurors, they are under the same

12     oath to do justice as are you, they have heard the same

13     evidence that you have.         Jury deliberations are just

14     that, deliberations to see whether twelve people can

15     come to a conclusion, a unanimous conclusion, and it has

16     to be unanimous, unanimous as to not guilty, unanimous

17     as to guilty, as to each of the seven questions, and you

18     treat each one separately, each one charges a separate

19     crime.    So you deliberate about that.

20              Now, if your view changes, there's nothing the

21     matter with that if that's sincere, but a verdict is not

22     a true verdict if it's ten of you think something and

23     the other two go along so you can go home.              You have

24     failed in your duty if you do that.            It's unfair.        It's

25     not why -- it's not how this process is intended to
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 1     work.    The law requires a unanimous verdict, unanimous

 2     as to not guilty, unanimous as to guilty.

 3             We've ordered lunch for?

 4             THE CLERK:     12:30.

 5             THE COURT:     12:30, it's cafeteria food, we'll

 6     bring it to you, we'll bring it to the alternates.                 We

 7     won't bother you.       If you are still deliberating at

 8     about 10 minutes of 5:00, I have some instructions, I'm

 9     going to bring you in, I'm going to let you go.                In fact

10     we knew going in that I was going to be out of state

11     tomorrow.     I'm not having you come in tomorrow, you can

12     continue your deliberations on Thursday, which is the

13     day we planned to be sitting in this case.              Another

14     judge could take your verdict, but I'm the only one who

15     could answer your questions, so I have to be here, and

16     tomorrow I'll be in Washington.           So you're going to go

17     till 5:00 today, but as I said, no further.

18             If you decide -- and once we send you out, you're

19     in charge, but if sometime this afternoon you decide

20     you've talked about it enough and you'd all simply like

21     to go home and sleep on it -- but not to talk to anyone

22     else because no one else can influence you at all, but

23     if you want to stop, you just send out a message that

24     you'd like to stop for the day and I'll give you your

25     instructions and send you home and you'll start in again
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 1     on Thursday morning.

 2              When you have reached a verdict, whatever that is,

 3     you tell the Court Security Officer you have reached a

 4     verdict, don't give it to him, just tell him you've

 5     reached a verdict.       He'll set things up in here.

 6     Whatever we're doing in here, whatever other case I'm

 7     working on, that will be off to one side, you come

 8     first.

 9              So we all come in and the alternates come in too,

10     and, um, this is how we take a verdict.             Ms. Gaudet will

11     say, "Ladies and gentlemen, have you agreed upon a

12     unanimous verdict?"        And if you're back with a verdict,

13     I imagine you'll say "Yes."          And she will say, "Will you

14     please pass the paper."         And the paper gets passed and

15     everyone's looking at it.         I look at it.       Now I look at

16     it for only one reason, I look at it just to see that

17     the verdict is logical, and in this case any combination

18     of possibilities is logical.          You could return a verdict

19     of not guilty on all seven questions.             You could return

20     a verdict of guilty on all seven questions.              You could

21     return a verdict of not guilty on some and guilty on

22     others.    Any one of those combinations is logical.               You

23     could return a verdict of guilty on certain of the

24     doing-it charges, but a not guilty on conspiracy,

25     because each one requires slightly different elements.
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 1     So I look at it to see if it's logical.

 2            If it's logical -- now it's not logical if you

 3     leave one of the questions blank, I don't know what to

 4     do then, it's not logical if you check both not guilty

 5     and guilty, I don't know what to do then, but so long as

 6     it's logical, I say "The verdict is in order, it may be

 7     recorded," and I give it to Ms. Gaudet.             She'll ask you

 8     all to stand up.       It's the only time in the whole

 9     proceeding where you all stand and we sit here and we

10     all look at you.       And then she will read out your

11     verdict in open court and read it out grammatically.

12     And if at that time, as you stand there and the Clerk

13     reads your verdict, you are, each one of you, satisfied

14     with the consciousness of your duty faithfully

15     performed, you will have done what's required of you.

16     The word "verdict" comes from two Latin words, it means

17     "to speak the truth" and that is what is asked of you at

18     this time, to speak the truth about these matters.

19            I may have left something out.           I may have

20     misstated the law.       Before we send you out the lawyers

21     get a chance to bring that to my attention.

22            Counsel?

23

24            AT THE SIDEBAR

25            THE COURT:      The government?
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 1             MS. BLOOM:     Yes, your Honor, a couple of things.

 2     When you mentioned -- the tax count, when you mentioned

 3     that it could be overreporting or underreporting, you

 4     didn't mention that it could be not filing at all.

 5             THE COURT:     I will.

 6             MS. BLOOM:     That's one of the points I made.

 7             THE COURT:     All right.

 8             MS. BLOOM:     Um, when you went through the elements

 9     for the investment advisor, you mentioned that there --

10     we could meet the element of interstate commerce.                  I

11     believe there's an alternate element of being a

12     registered investment advisor, which is also applicable

13     here.

14             THE COURT:     I will say that.

15             MS. BLOOM:     Um, you gave the willful blindness

16     instruction at the beginning with respect to the tax

17     count, but I don't believe that you mentioned that that

18     instruction would be applicable to the other.

19             THE COURT:     I'll say that.

20             MS. BLOOM:     That's it.

21             THE COURT:     The defense satisfied?

22             MR. O'HARA:     I just object to having a willful

23     blindness instruction given to the conspiracy count.

24             THE COURT:     Oh, that's a good point.

25             MS. BLOOM:     Yeah, okay.
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 1            THE COURT:      And she accepts that.

 2            MR. O'HARA:      Thank you.

 3            MS. BLOOM:      Okay.

 4            THE COURT:      Okay.    Thank you.

 5

 6            (In open court.)

 7            THE COURT:      There are some corrections, um, and I

 8     won't call them "minor," they are as important as

 9     anything else.

10            First, and go to Question 1 which has to do with

11     corruptly impeding the IRS.          I mentioned various

12     possibilities like over, um, or underreporting income,

13     overclaiming deductions, but I didn't mention not filing

14     at all and I should have mentioned that, if you

15     intentionally, or through willful blindness don't file.

16            Also on that count I said, "Now, look, it can't

17     just be any one thing, it has to be the bulk of the

18     charges over those years, though it doesn't have to be

19     every single year."        You've all got to agree as to what

20     it is, you can't agree to a bunch of things, some of you

21     thinking it's that and some of you thinking it's another

22     bunch of things under this corrupt endeavor, you all

23     have to agree as to what it is.           So that's on that one.

24            On violation of the Investment Advisors Act, I did

25     tell you, and I'm accurate, that there has to be an
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 1     interstate involvement in the investment advisor fraud,

 2     but another way the government could prove that is if

 3     you are satisfied that she did register as an investment

 4     advisor.     If there's evidence here and you believe it

 5     that she registered as an investment advisor, that is

 6     evidence that she was acting in interstate commerce.

 7            And lastly, I made mention of willful blindness

 8     and I defined it when I was talking about corruptly

 9     endeavoring to impede the IRS.           Well, with willful

10     blindness, the same exact definition, the government can

11     take advantage of that, if they've proved it, with

12     respect to a violation of the Investment Advisor Act and

13     any one of the four wire fraud counts, but not

14     conspiracy.     Conspiracy is eyes open knowingly agreeing.

15            Is the supplemental charge satisfactory,

16     Ms. Bloom?

17            MS. BLOOM:      Yes, your Honor.

18            THE COURT:      Mr. O'Hara.

19            MR. O'HARA:      Yes, your Honor.

20            THE COURT:      The jury my retire and commence its

21     deliberations.      Oh, I should announce the alternates.

22     I'm sorry.

23            The alternates are Suzanne Piscitelle and Connie

24     McKelvey.     Would you two step down.         And when we go out,

25     turn right and go into my little office.
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 1            (Alternates step down.)

 2            THE COURT:      All right, the jury may retire and

 3     commence its deliberations.

 4            (Jury leaves, starts deliberating, 12:35 p.m.)

 5            THE COURT:      Please be seated.

 6            First of all, the compliment was genuine, it was a

 7     fine job on everyone's part and I do appreciate it.                  I

 8     have to go into -- I put them in the robing room and I

 9     have to go into the robing room to take the robe off, so

10     I will be in the presence of the alternates.               We will

11     not discuss the substance of the case.             And I take it

12     you have no objection to that.

13            Stay here with Ms. Gaudet and make sure you know

14     what's going back to the jury room.            This afternoon is

15     the court meeting, Ms. Gaudet will bring me out of it

16     whenever there's a question or as soon as we have a

17     verdict.     You will be consulted as to the answer of any

18     question if we can reach you within 5 minutes.               Now, the

19     assistants, you have an office here, but the defense,

20     with the court meeting, I have no hearings this

21     afternoon and you're welcome to make use of the

22     courtroom.     But we need to be able to go to lunch.              We

23     need to be able to find you if you want to be consulted

24     as to the answer to a question.

25            About 10 minutes of 5:00, if they haven't reached
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 1     a verdict, I of course have a charge to give them.

 2     We'll bring them in, usually people like to be here, so

 3     I'm putting you on notice.

 4            All right.      We'll recess.

 5            (Recess, 12:40 p.m.)

 6            (Verdict, 2:15 p.m.)

 7            THE CLERK:      Mr. Foreman, members of the jury, has

 8     the jury reached a unanimous verdict?

 9            THE FOREPERSON:       Yes, we have.

10            THE CLERK:      please pass it forward.

11            (Passes verdict slip forward.)

12            THE COURT:      (Reads.)     The verdict is in order.        It

13     may be recorded.

14            THE CLERK:      Mr. Foreman, members of the jury,

15     please stand and listen to the verdict as the Court

16     records it.

17            In the matter of the United States of America

18     versus Rosalind Herman, Criminal Action Number 12-10015,

19            "We find Rosalind Herman, as to Count 9, alleging

20     a corrupt endeavor to impede the IRS during the years

21     2003 through 2012:

22            Guilty.

23            As to Count 2, alleging violation of the

24     Investment Advisors Act:

25            Guilty.
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 1            As to Count 4, alleging wire fraud on or about

 2     November 17, 2008:

 3            Guilty.

 4            As to Count 5, alleging wire fraud on or about

 5     February 25, 2009:

 6            Guilty.

 7            As to Count 6, alleging wire fraud on or about May

 8     18, 2009:

 9            Guilty.

10            As to Count 7, alleging wire fraud on or about

11     July 24, 2012:

12            Guilty.

13            As to Count 1, alleging conspiracy:

14            Guilty.

15            So say you, Mr. Foreman, is that your verdict?

16            THE FOREPERSON:       Yes, it is.

17            THE CLERK:      So say you, members of the jury?

18            THE JURY:     (In unison.)      Yes.

19            THE COURT:      Please be seated.

20            Ladies and gentlemen, I want to thank you -- I

21     thank you not for your verdict, I thank you whatever

22     your verdict was, but I do most sincerely thank you for

23     the obvious case, the consideration you've given to

24     every aspect of this case, the courtesy that you have

25     shown to everyone, and your diligence as jurors.
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 1              The case is over.      You have every right to say

 2     anything to anyone about anything having to do with this

 3     case.

 4              In one respect I ask you -- I can't charge you,

 5     because the case is over, but I ask you, it's best that

 6     you not talk to anyone about what went on in the jury

 7     room.    By your verdict you have spoken the truth about

 8     these matters.        Your verdict is that speech.         It's best

 9     that you not talk to anyone about what went on in the

10     jury room.

11              Now, no one involved in the case, literally no one

12     has any right to approach you and no one will.               I can't

13     say the press wouldn't, though there's been no press

14     about the case, and if they came you can say what you

15     want, but I do caution you, please, don't talk about

16     what went on in the jury room.

17              I'll ask you to wait for just a moment because I'd

18     like to come back and thank you personally for your

19     service.

20              The jury may stand in recess.         I'll remain on the

21     bench.

22              THE CLERK:     All rise for the jury.

23              (Jury leaves, 2:30 p.m.)

24              THE COURT:     I propose sentencing for Wednesday the

25     29th of June at 2:00 p.m.
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 1             Is that satisfactory for the government?

 2             MR. O'HARA:     I didn't hear you, your Honor?

 3             THE COURT:     Wednesday the 29th of June at

 4     2:00 p.m.

 5             MS. BLOOM:     Your Honor, I will be in trial from

 6     May 23rd until July 23rd, 10:00 till 4:00.

 7             THE COURT:     Well, that's fine, but Ms. Murrane is

 8     here.

 9             MS. BLOOM:     Okay.

10             THE COURT:     is that satisfactory?

11             MS. MURRANE:     That's fine for the government.

12             MR. O'HARA:     Yes.

13             THE COURT:     Very well.

14             Status of bail?

15             MS. MURRANE:     So the government would ask that the

16     defendant still be released but to be released on

17     conditions and we would ask that she be on home

18     confinement until her sentencing.

19             THE COURT:     And by "home confinement" you mean

20     that she be at home save for necessaries, is that right?

21             MS. MURRANE:     That's right, to the extent she

22     needs to seek medical treatment or --

23             THE COURT:     And buy food and necessities and that

24     includes her husband as well.

25             You're okay with that?
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 1            MS. MURRANE:      Um, yes.

 2            THE COURT:      That seems not unreasonable,

 3     Mr. O'Hara, let me mention what I think are the

 4     appropriate exceptions, leaving home to meet with you,

 5     attend religious services, medical appointments of

 6     herself or her husband, um, by necessity such as food,

 7     clothing and the like, but otherwise at home?

 8            MR. O'HARA:      I would ask that -- can I be heard

 9     now?

10            THE COURT:      I'm making that proposal and I'd like

11     to hear you.

12            MR. O'HARA:      I would suggest that the conditions

13     that she's currently under, of which quite frankly I'm

14     not aware, remain in effect.          Those conditions were set

15     long before I was appointed on this case.

16            THE COURT:      They were and I have a report, so far

17     as I can tell, she's in compliance with those

18     conditions, but the situation has changed.              I hear you

19     but I do impose those conditions.

20            She is confined to her home.           She is to leave home

21     or may leave home -- I'm not imposing electronic

22     monitoring, but she's either to be in that home -- to

23     leave for medical care, for religious observances, to

24     attend to the medical care of her husband or herself,

25     she may leave to buy food, clothing, other necessities
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 1     for the home.      But other than that, she's to be in that

 2     home.

 3             That's the order of the Court.          We'll recess.

 4             THE CLERK:     All rise.

 5             (Ends, 2:30 p.m.)

 6

 7                          C E R T I F I C A T E

 8

 9              I, RICHARD H. ROMANOW, OFFICIAL COURT REPORTER,

10     do hereby certify that the foregoing record is a true

11     and accurate transcription of my stenographic notes,

12     before Judge William G. Young, on Tuesday, April 5,

13     2016, to the best of my skill and ability.

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17     /s/ Richard H. Romanow 09-16-16
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18     RICHARD H. ROMANOW Date

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